8/15/2019
      Case                       Complete Business
             9:20-cv-81205-RAR Document     30-7 Solutions
                                                   Entered Groupon
                                                                 Inc.FLSD
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                                                                                                             Close Window
                                                                                                             Print This Page
                                                                                                             Expand All | Collapse All



  Complete Business Solutions Group Inc.

   Account Record Type      Actum Merchant                              Amendment on File



         Account Owner      Lisa Janacek                                   Account Status    Active
          Account Name      Complete Business Solutions Group Inc.      Reseller of Record   NONE ACTUM
                    DBA     Par Funding
         Parent Account                                                   Risk Level Score   28.0
                 Website    http://www.parfunding.com
                  Phone     (215) 820-8206
                     Fax

              Reseller SF
       Notification Email


     Address Information
         Billing Address    141 N 2nd St                                 Shipping Address
                            Philidelphia, PA 19105
                            United States


     Additional Information
                    Type    Customer                                              Industry   Financial Services
           Federal Tax ID   453686215                                          Employees     25
         Account Source                                                   Annual Revenue     $10,000,000
               SIC Code                                                    SIC Description


     System Information
              Created By    Callie Stuart, 3/3/2015 2:49 PM               Last Modified By   Anthony Leem, 6/17/2019 5:52 PM


   Custom Links

                            Actum Reports                       Google Maps                         Google News
                            Google Search
                            Hoovers Profile


  Parent Record ID's (Account)
   PRID000692
           Parent ID    AXXXXXXXX
         Record Type    Actum Merchant
   Last Modified Date   3/17/2015
     Last Modified By   Anthony Leem, 3/17/2015 9:41 AM

  Contacts
   James (Jim) Klenk

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                               1/71
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      Case                       Complete Business
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                                                                                          07/27/2020    Page 2 of 71
   Contact Role
           Title Financial Controller
          Email james@parfunding.com
         Phone (215) 922-2636 Ext 1040
           Fax
         Mobile
     Description


   Lisa McElhone
   Contact Role
            Title CEO
          Email lisa.mcelhone@gmail.com
         Phone (215) 820-8206
           Fax
         Mobile
     Description In house agent: Vinny

   Joe Cole
   Contact Role Primary Contact
           Title
          Email joecole@parfunding.com
         Phone (215) 613-4126
            Fax
         Mobile (949) 232-2463
     Description

   Susan Graeser (No Longer Authorized)
   Contact Role CS Manager
            Title
          Email susan@parfunding.com
         Phone (215) 820-8206
            Fax
         Mobile
     Description


   Aida Lau
   Contact Role
           Title Accounting Manager
         Email aida@parfunding.com
        Phone (610) 292-2722
            Fax
        Mobile
    Description

  Activity History
   FUP on POA request
                        Name
                        Status Completed
                    Related To Complete Business Solutions Group Inc.
                         Task
               Create Date      6/24/2019
                 Due Date       6/24/2019
   Last Modified Date/Time      6/24/2019 1:24 PM
               Assigned To      Maura Wright
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                  2/71
8/15/2019
      Case                       Complete Business
             9:20-cv-81205-RAR Document     30-7 Solutions
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                                                                                          07/27/2020    Page 3 of 71
     Last Modified By Alias maura
                         Merchant provided POAs. It is CCD, going to Whitaker Enterprises. POAs show client started a new
                Comments business for auto detailing. POAs are thorough, complete. No concern at this time, now that we can
                         see its b2b.

   Em to/from Merchant - POA Requests
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/24/2019
                 Due Date 6/24/2019
   Last Modified Date/Time 6/24/2019 12:45 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments -------- Forwarded Message --------
                         Subject: RE: POA Requests - Complete Business Solutions - AXXXXXXXX
                         Date: Mon, 24 Jun 2019 12:17:46 -0400
                         From: Aida Lau <aida@parfunding.com>
                         To: Jared <jared@actumprocessing.com>
                         CC: ellen@actumprocessing.com

                             Both submitted.

                             Let me know if you need anything else.

                             Thanks.

                             Aida Lau


                             -------- Forwarded Message --------
                             Subject: POA Requests - Complete Business Solutions - AXXXXXXXX
                             Date: Mon, 24 Jun 2019 11:04:36 -0500
                             From: Jared <jared@actumprocessing.com>
                             To: aida@parfunding.com
                             CC: ellen@actumprocessing.com <ellen@actumprocessing.com>

                             Good Morning Aida,

                             Our Risk & Compliance Team has asked if you can provide us with a copy of the agreements
                             between Complete Business Solutions and the following customer listed below:

                             Abraham Whitaker - $2,083.33
                             Abraham Whitaker - $1,360.50

                             Please upload a copy of the agreement to our secure document portal. You will receive a separate e-
                             mail with login credentials to the portal shortly.
                             --
                             Best Regards,

                             Jared Apilado




                             Hello! Can you please request POAs for the following orders to check for compliance? Thanks!

                             06/03/2019 16:05:10 $2,083.33 Return Abraham Whitaker Whitaker Enterprise 19085262 Check Return
                             R07 - Authorization Revoked by Customer Abraham Whitaker

                             06/04/2019 16:05:13 $1,360.50 Return Abraham Whitaker Whitaker Enterprise 19088305 Check Return
                             R10 - Customer Advises Not Authorized


https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          3/71
8/15/2019
      Case                       Complete Business
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                                                                                          07/27/2020    Page 4 of 71
                             06/05/2019 16:05:15 $1,360.50 Return Abraham Whitaker Whitaker Enterprise 18888853 Check Return
                             R10 - Customer Advises Not Authorized


   Unauth return investigation
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/24/2019
                 Due Date 6/24/2019
   Last Modified Date/Time 6/24/2019 10:17 AM
               Assigned To Maura Wright
     Last Modified By Alias maura
                             Originator received three R10s. CCD only. Looked up receiver, appears to be part of an llc:
                             https://opencorporates.com/companies/us_tn/000778112
                Comments
                             No details in WTS besides a name of "Whitaker Enterprise." Receiver also has two R07 returns.
                             Requesting POAs for a couple of orders from this recv. to make sure its CCD.


   Bypass limits search
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/19/2019
                 Due Date 6/19/2019
   Last Modified Date/Time 6/19/2019 10:03 AM
              Assigned To Maura Wright
     Last Modified By Alias maura
                            Ran sql query for merchants that are potentially bypassing limits. Large one was for AXXXXXXXX on
                Comments acct ending x118. Found client online on LinkedIn in PA. IP matches their location out of PA. Does
                            not appear to be bypassing limits, does daily debits of various sizes. Still staying within limits.


   Confirmed 4 biz day settlement
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 4/15/2019
                 Due Date 4/15/2019
   Last Modified Date/Time 4/15/2019 1:55 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments


   Sent Aida import file template
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 4/8/2019
                 Due Date 4/8/2019
   Last Modified Date/Time 4/8/2019 12:48 PM
              Assigned To Ellen Connaway
     Last Modified By Alias Ellen
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                             4/71
8/15/2019
      Case                       Complete Business
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                                                   Entered Groupon
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                Comments

   Em from/to Aida - Confirmed Monthly Fee & Reserve
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/28/2019
                 Due Date 3/28/2019
   Last Modified Date/Time 3/28/2019 12:19 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments -------- Forwarded Message --------
                         Subject: Re: Fast Advance Funding Reserve
                         Date: Thu, 28 Mar 2019 12:18:14 -0500
                         From: Jared <jared@actumprocessing.com>
                         To: Aida <aida@parfunding.com>
                         CC: 'Charles' <chucke@actumprocessing.com>, ellen@actumprocessing.com
                         <ellen@actumprocessing.com>


                             Good Afternoon Aida,

                             I confirmed that all monthly fees should be taken at the end of the month for these Parent IDs. I also
                             confirmed that for PAR Funding, there is no percentage reserve that is being taken from
                             transactions. You should be receiving the full amount of the transactions deposited into your bank
                             account.

                             Best Regards,

                             Jared Apilado
                             Actum Processing
                             Business Relationship Manager
                             Office: (512) 402-0082 Ext: 1168
                             Email: jared@actumprocessing.com
                             Learn more about NACHA's Operating Rules

                             Important: Review your account limits and reach out to us to avoid any transaction delays.

                             Actum Processing does not recommend or endorse transmitting protected information via e-mail or
                             fax.
                             Please transmit all sensitive information through our secure document portal.

                             On 3/28/2019 8:51 AM, Aida wrote:
                             >
                             > Good morning,
                             >
                             >
                             >
                             > I just want to confirm if this is resolved.
                             >
                             >
                             >
                             > Also I would like to double check if we have monthly actum fee instead of daily for all 4 accounts,
                             followings are the account numbers,
                             >
                             >
                             >
                             > AXXXXXXXX
                             >
                             > AXXXXXXXX
                             >
                             > AXXXXXXXX
                             >
                             > AXXXXXXXX
                             >
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                 5/71
8/15/2019
      Case                       Complete Business
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                             >
                             >
                             >
                             >
                             > Thanks.
                             >
                             >
                             >
                             >
                             >
                             > Aida Lau


   ckup - per G2 new BBB complaints/accred revoked
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/27/2019
                 Due Date 3/27/2019
   Last Modified Date/Time 3/27/2019 2:47 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments 4 complaints - revocation only per failure to respond


   Aida inquiring about import
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/25/2019
                 Due Date 3/25/2019
   Last Modified Date/Time 3/25/2019 3:53 PM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments Ellen Connaway <ellen@actumprocessing.com>
                         Attachments
                         3:49 PM (3 minutes ago)
                         to Aida, Lisa

                             Aida:

                             Not a problem!

                             I've attached our batch import spec which uses a CSV format and we also support a NACHA format
                             for import also.

                             Our import cut-off times are 30 minutes before the normal cut-off times.

                             Let me know if you have any other questions...

                             Ellen Connaway
                             Actum Processing
                             www.actumprocessing.com
                             Merchant Support
                             Office: (512) 402-0082 Ext: 1107
                             Email: ellen@actumprocessing.com

                             Learn more about NACHA's Operating Rules

                             Actum Processing does not recommend or endorse transmitting protected information via e-mail or
                             fax. Please transmit all sensitive information through our secure document portal.


https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          6/71
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      Case                       Complete Business
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                             On 3/25/2019 2:52 PM, Aida wrote:
                             Hi Ellen/Lisa,



                             Is there anyway we can use any kind of actum import instead of manually entering data, specially we
                             have many weekly clients that need to be scheduled manually.



                             Please confirm.



                             Thanks.




                             Aida Lau

                             Accounting Manager


   Em from Aida - Reserve Options
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/19/2019
                 Due Date 3/19/2019
   Last Modified Date/Time 3/19/2019 10:47 AM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                             -------- Forwarded Message --------
                             Subject: Fast Advance Funding Reserve
                             Date: Tue, 19 Mar 2019 11:30:31 -0400
                             From: Aida <aida@parfunding.com>
                             To: 'Jared' <jared@actumprocessing.com>
                             CC: 'Charles' <chucke@actumprocessing.com>

                             Hi Jared,
                Comments
                             Can you please review our account and see if we need to have reserve taken out for each
                             transactions?

                             Thanks.

                             Aida Lau
                             Accounting Manager


   Em to Charles - Move to Monthly Billing
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/20/2019
                 Due Date 2/20/2019
   Last Modified Date/Time 2/20/2019 10:31 AM
               Assigned To Jared Apilado

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          7/71
8/15/2019
      Case                       Complete Business
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     Last Modified By Alias Jared
                             -------- Forwarded Message --------
                             Subject: Fwd: RE: Daily Transactions
                             Date: Wed, 20 Feb 2019 10:30:40 -0600
                             From: Jared <jared@actumprocessing.com>
                             To: chucke@actumprocessing.com <chucke@actumprocessing.com>
                             CC: ellen@actumprocessing.com <ellen@actumprocessing.com>


                             Hello Charles,
                Comments
                             Per the e-mail below, can we move Complete Business Solutions Group Inc dba Par Funding
                             (AXXXXXXXX) to monthly billing?

                             If so, is it possible to move them over immediately?

                             Best Regards,

                             Jared Apilado


   Em from Aida - Move to Monthly Billing
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/20/2019
                 Due Date 2/20/2019
   Last Modified Date/Time 2/20/2019 10:29 AM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                             -------- Forwarded Message --------
                             Subject: RE: Daily Transactions
                             Date: Fri, 15 Feb 2019 14:28:01 -0500
                             From: Aida <aida@parfunding.com>
                             To: 'Jared' <jared@actumprocessing.com>, 'Ellen Connaway' <ellen@actumprocessing.com>, 'Lisa'
                             <lisa@actumprocessing.com>

                             Jared,

                             Joe is happy to hear that we can move to monthly billing.
                Comments
                             Please proceed with the current month, if you can refund the fee that you have already taken out and
                             charge us a monthly fee starting this month, it will be great.

                             Let me know if you have any questions.

                             Thanks.

                             Aida Lau
                             Accounting Manager


   Em to Charles - Adding Origination Date to Settlements
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/15/2019
                 Due Date 2/15/2019
   Last Modified Date/Time 2/15/2019 1:07 PM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments -------- Forwarded Message --------
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                           8/71
8/15/2019
      Case                       Complete Business
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                             Subject: Merchant Activity Report - Adding Origination Date to Settlements
                             Date: Fri, 15 Feb 2019 13:07:01 -0600
                             From: Jared <jared@actumprocessing.com>
                             To: chucke@actumprocessing.com <chucke@actumprocessing.com>
                             CC: Anthony Leem <anthony@actumprocessing.com>, ellen@actumprocessing.com
                             <ellen@actumprocessing.com>


                             Hello Charles,

                             I had a long phone conversation with a merchant who had an incredibly difficult time understanding
                             our reporting to reconcile deposits/fees/returns.

                             At the end of our conversation, she finally understood a little more about what she needs to look for,
                             but we both agreed that having the "origination date" added to the Settlements in the Merchant
                             Activity Report would have made it much easier for her to understand and for me to explain.

                             Is is possible for us to add a column to the Settlements in the Merchant Activity Report that also
                             shows the origination date, similar to how the Returns show it?

                             Returns:


                             Settlements:


                             Ideally it would be the first column on the left just like the Returns show.
                             --
                             Best Regards,

                             Jared Apilado

   Call w/ Aida (Accounting) - Discussed Reconciling & Accounting
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/15/2019
                 Due Date 2/15/2019
   Last Modified Date/Time 2/15/2019 12:53 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                            They need to know the origination dates for the settlements. When they see a deposit, they don't just
                            need to know the settlement date for the associated transactions, they also need to know the
                            origination date for the associated transactions.
                Comments
                             Right now, our reporting requires them to look at multiple reports to reconcile this information.

                             Adia will confirm if their management would like them to move to a monthly billing.
                             I will ask that the origination date be added to the Merchant Activity Report's "settlements" link.

   Rcvd Signed Ex Bs w/ High Ticket Fee - Client is Cool w/ it
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/6/2019
                 Due Date 2/6/2019
   Last Modified Date/Time 2/6/2019 1:10 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments -------- Forwarded Message --------

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                             Subject: Re: Updated Exhibit B - AXXXXXXXX
                             Date: Tue, 5 Feb 2019 17:59:48 -0500
                             From: Joe Cole <joecole@parfunding.com>
                             To: Jared <jared@actumprocessing.com>
                             CC: ellen@actumprocessing.com <ellen@actumprocessing.com>


                             Ok, understood. We're good with the fees and agree it won't have a material impact on business.

                             Please see the attached form.

                             Thanks for the details on how this would impact our account.

   reply to Aida's ? on HT fee
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/6/2019
                 Due Date 2/6/2019
   Last Modified Date/Time 2/6/2019 9:39 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Good morning, Aida.

                         As each entry carries it's own risk, this is a per item fee, and will apply to each originated debit $15K
                         or more. Should you have a customer on multiple loans, and only the sum of their various debits
                         totals $15K or more, the fee would not apply. Please also note that each originated debit must match
                Comments the specific customer agreement/ACH authorization, though. Breaking up any single amount owed
                         on an agreement into multiple debits is prohibited.

                             Let us know if you have any additional questions - always here to assist!

                             Lisa

   Em to Joe - Sent Ex B w/ High Ticket Rate
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/5/2019
                 Due Date 2/5/2019
   Last Modified Date/Time 2/5/2019 2:55 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments -------- Forwarded Message --------
                         Subject: Updated Exhibit B - AXXXXXXXX
                         Date: Tue, 5 Feb 2019 14:45:09 -0600
                         From: Jared <jared@actumprocessing.com>
                         To: joecole@parfunding.com
                         CC: ellen@actumprocessing.com <ellen@actumprocessing.com>


                             Good Afternoon Joe,

                             Actum sent out a notice last month about a High Ticket Fee that would be implemented on February
                             10th. Accordingly, we are updating the Exhibit Bs for our clients to reflect this change.

                             The High Ticket Fee is a percentage rate of 0.25% that would be applied to individual debit
                             transactions that are $15,000 or more.

                             I reviewed the account history for Par Funding from 6/1/2018 to 2/5/2019 and saw that you only

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                             processed 190 transactions that were $15,000 or more out of a total of 37,877 transactions, so this
                             fee would have a very minimal impact on your current processing.

                             With that said, I have attached the updated Exhibit B to this e-mail. Please send back the signed
                             copy at your earliest convenience. We thank you for your continued partnership!
                             --
                             Best Regards,

                             Jared Apilado


   Bank Change Completed
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/4/2019
                 Due Date 2/4/2019
   Last Modified Date/Time 2/4/2019 12:04 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments Updated based on Ex A-1 and voided check provided.

   A-1 & ck rcvd from Joe-saved & asked Jared to process update
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/4/2019
                 Due Date 2/4/2019
   Last Modified Date/Time 2/4/2019 11:32 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Joe. Hope you've been well. We'll get this taken care of for y'all.

                             @ Jared, documents saved to file. Would you please update the system?

                             Best!

                             Lisa

                Comments
                             On Mon, Feb 4, 2019 at 11:23 AM Joe Cole <joecole@parfunding.com> wrote:
                             Good afternoon Lisa,

                             Can we please change our ACH debit / credit account with CBSG back to the Bancorp account we
                             used previously?

                             Please see the attached request form and voided check.

                             Thanks.

   EM back from Joe regarding fee change - this applies to all associated companies
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 1/10/2019
                 Due Date 1/10/2019
   Last Modified Date/Time 1/10/2019 2:03 PM

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              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Thanks, Joe! I greatly appreciate our relationship.

                            Let me know if you need any further detail or if questions pop it. It really doesn’t impact your
                            companies that much at all, at least based on December processing.

                            Regards,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Toll Free: (800) 975-5640 ext. 1401
                            Direct: (602) 912-5707
                            Mobile: (480) 677-0555
                            Email: vinny@actumprocessing.com
                            Calendar: calendly.com/vinny-actum

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                            the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
                            review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                            contact the sender by reply email and destroy all copies of the original message.

                            On Jan 10, 2019, at 12:32 PM, Joe Cole <joecole@parfunding.com> wrote:

                            Thanks Vinny,

                            We understand and will comply accordingly.

                            Let me know if you need anything else in the meantime.


                            Joe Cole


                            On Thu, Jan 10, 2019 at 11:22 AM vincent lipari <vinny.lipari@actumprocessing.com> wrote:
                            Dear Valued Client,

                            I hope this message finds you well.

                            A portion of our 2018 audit was centered around the Merchant Cash Advance industry. The results of
                            our evaluation lead to our executive team making decisions on how best to move forward with
                            current and future business opportunities in this space. A significant portion of our ACH debit
                            volume (MCA related) is for individual transactions greater than $14,999. I am writing you today
                            because you are one of our clients that currently processes or are approved to process individual
                            items larger than that number.

                            As a long-term partner, you’ve experienced first hand how we value our relationship and always go
                            above and beyond to accommodate your needs. As an organization we continue to strengthen not
                            only our ACH offerings, but also our infrastructure, operations and how we manage all facets of risk
                            and communication associated with our MCA clients. With that being said, we are providing you with
                            proper notice that there will be a change in our fee structure across all current and future accounts
                            in this space.

                            Effective February 10, 2019, ACH debit entries of $15,000 or greater will be assessed an additional
                            rate of 0.25%.

                            In addition, Actum will be introducing some new requirements for high ticket debits in your vertical,
                            which may include: proof of funding/loan origination, copy of voided Receiver check or bank letter,
                            executed customer agreement; and Actum may also require direct contact with the Receiver for a
                            one-time verification and quality control purpose. It is our intention to streamline this process and
                            work in tandem with your team on any requests that arise.

                            Certain industries require additional levels of compliance and customer service, as well as pose
                            certain financial risks that Actum must take into consideration when pricing our processing
                            services.

                            I am happy to discuss these in more detail with you directly. If you’d like to schedule a call please
                            email me with a few suggested dates/times and I will accommodate. Rest assured Actum is behind
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8/15/2019
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                                                                                      07/27/2020     Page 13 of 71
                             your business and the MCA industry as a whole.

                             We look forward to the continued growth and success of our partnership in 2019.

                             Regards,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Toll Free: (800) 975-5640 ext. 1401
                             Direct: (602) 912-5707
                             Mobile: (480) 677-0555
                             Email: vinny@actumprocessing.com
                             Calendar: calendly.com/vinny-actum

                             CONFIDENTIALITY NOTICE: This email message, including any attachments, is for the sole use of
                             the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
                             review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                             contact the sender by reply email and destroy all copies of the original message.


   EM w/Joe re: Cease & Desist Order
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 12/31/2018
                 Due Date 12/31/2018
   Last Modified Date/Time 12/31/2018 12:53 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments Lisa Janacek <lisa@actumprocessing.com>
                            12:52 PM (0 minutes ago)
                            to Joe, Vinny

                             Joe,

                             Thank you for the response. Actum appreciates your partnership as well and finds the matter
                             satisfactory at this time.

                             Happy new year and best wishes for 2019,

                             Lisa


                             On Mon, Dec 31, 2018 at 12:01 PM Joe Cole <joecole@parfunding.com> wrote:
                             Good afternoon Lisa,

                             Please see the attached letter our counsel prepared on Friday reflecting the company's position in
                             regards to the order from New Jersey.

                             We intend to have the New Jersey order dismissed on the grounds that our creditor notes are simply
                             loans to the company with no security interest in the business as the NJ BOS claims. Our attorney's
                             prepared these documents with close attention to SEC regulations and this was further
                             substantiated from the settlement we had with the PA Department of Banking last month. They
                             concurred that the creditor note and security agreements we issued are not securities and we expect
                             New Jersey to follow suit. The fees paid were only in respect to working with finders from 2017 and
                             prior, a practice which the company no longer engages in.

                             Furthermore, the company has never had issues with it's creditors and we pride ourselves in
                             maintaining a healthy working relationship with them. Our company conducts regular compliance
                             audits and will pro-actively continue to refine our business practices and documentation to adhere
                             to any new regulatory requirements.

                             We welcome any additional questions and can schedule a call with our counsel if desired.

                             CBSG greatly appreciates our business relationship with your firm. Thank you.
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                                                                                      07/27/2020     Page 14 of 71

                             image.png

                             On Mon, Dec 31, 2018 at 11:27 AM Lisa Janacek <lisa@actumprocessing.com> wrote:
                             Good morning, Joe.

                             The Cease & Desist Order out of NJ has come to our attention and we'd like to get your response.

                             https://www.nj.gov/oag/newsreleases18/pr20181227a.html

                             Thank you,

                             Lisa


   Thread from Dailyfunder.com - SEE NOTES!!!! NJ AG office, settling unregistered securities - See notes in RE: EM
   w/Joe re: Cease & Desist Order
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 12/28/2018
                 Due Date 12/28/2018
   Last Modified Date/Time 12/31/2018 1:12 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                            https://www.bloomberg.com/news/articles/2018-12-28/par-funding-sanctioned-by-new-jersey-over-
                            high-yield-note-sales

                             https://www.law.com/njlawjournal/2018/12/27/nj-ags-office-blocks-philadelphia-company-from-
                Comments
                             selling-unregistered-securities/

                             GAMBINO CRIME FAMILY
                             https://www.bloomberg.com/graphics/2018-confessions-of-judgment-visit-from-gino/


   em Joe & Aida re: FI f/u rqst on POA
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/18/2018
                 Due Date 7/18/2018
   Last Modified Date/Time 7/18/2018 3:51 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                             Joe & Aida,

                             Back in May Aubree requested the below referenced Proof of Auth from you per a request by our
                             banking partner. It looks like you sent over the page for the ACH debit auth, but the bank is doing an
                             audit and has now requested the customer agreement to go with it.
                Comments
                             Would you be able to send that my way by tomorrow morning, Thurs, 7/19?

                             Many, many thanks!

                             Lisa


   James requested end of year monthly statements--sent over to Anthony. He is handling.
                     Name
                     Status Completed

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                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/21/2018
                 Due Date 6/21/2018
   Last Modified Date/Time 6/21/2018 3:03 PM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                            Thank you

                             As I had mentioned our Auditors are requesting the statements as part of our year end audits.

                             Any thing you could do to expedite the process would be appreciated

                             Thank you

                             Jim




                         From: Aubree <aubree@actumprocessing.com>
                         Sent: Thursday, June 21, 2018 2:33 PM
                         To: James Klenk <james@parfunding.com>
                Comments
                         Subject: Re: Par Funding Balances



                             Hi James,

                             Monthly statements are a new feature that we have very recently begun to put in place and are still
                             working on the finishing touches. However, I have reached out to the team to see if we can
                             accommodate your specific request and generate these for you. I will be in touch as soon as I
                             receive a response.

                             The numbers that I sent over last night I had simply calculated myself. Let me go through them again
                             and compare to yours to determine why these didn't match up. :)

                             Thanks!

                             Aubree


   EM chain w/Aida, on 6/12/18 she revoked Order #'s 17992263 & 17931208 at the same time they originated to the
   bank, both R29'd, adjusted Origination/Submitted report for that day.
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/21/2018
                 Due Date 6/21/2018
   Last Modified Date/Time 6/21/2018 1:56 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments Hi Aida,

                             The transactions for Order #'s 17992263 and 17931208 are showing up in the Origination Report for
                             6/12/18. Let us know if you have any questions.

                             Thanks!

                             Ellen Connaway
                             Merchant Support
                             ellen@actumprocessing.com

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                            On 6/20/2018 4:05 PM, Ellen Connaway wrote:
                            > Hi Aida,
                            >
                            > Our CTO is working to update the reporting to show that those 2 transactions were originated.
                            There are actually 2 more that were revoked at the same time they originated to the bank.
                            >
                            > Order # 18118977 - $3900 / Jason Walsh Baltimore. This transaction settled yesterday, 6/19/18
                            >
                            > Order # 18191760 - $9850 / Jason Walsh ABC Capital. This transaction settled yesterday as well.
                            >
                            > I'll let you know when this has been completed.
                            >
                            > Thank you!
                            >
                            > Ellen Connaway
                            > Merchant Support
                            > ellen@actumprocessing.com
                            >
                            > On 6/20/2018 2:53 PM, Aida wrote:
                            >> Actum Processing
                            >>
                            >> Do we have any updates on this?
                            >>
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                            >> Aida Lau
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                            >> Accounting Manager
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                            >> From: Aida <aida@parfunding.com>
                            >> Sent: Wednesday, June 20, 2018 10:56 AM
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                                                                                      07/27/2020     Page 17 of 71
                            >> To: 'Ellen Connaway' <ellen@actumprocessing.com>; 'Aubree' <aubree@actumprocessing.com>;
                            'Brad Ericson' <brad@actumprocessing.com>
                            >> Subject: RE: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> But we never schedule the transaction on that date.
                            >>
                            >>
                            >>
                            >> Please check on the origination report.
                            >>
                            >>
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                            >> Aida Lau
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                            >> Accounting Manager
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                            >> From: Ellen Connaway <ellen@actumprocessing.com>
                            >> Sent: Wednesday, June 20, 2018 10:53 AM
                            >> To: Aubree <aubree@actumprocessing.com>; Aida <aida@parfunding.com>; 'Brad Ericson'
                            <brad@actumprocessing.com>
                            >> Subject: Re: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> Hi Aida,
                            >>
                            >> Sorry for the delay as I was out sick yesterday. I misunderstood the information that was given to
                            me and the 2 debits will not be credited to the payout. This is a case where the revokes happened at
                            the same time we were sending the transactions to the bank, so those 2 debits did actually originate
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                            and they were returned as R29. I apologize for the confusion on this. Let us know if you have any
                            questions.
                            >>
                            >> Thanks!
                            >>
                            >> Ellen Connaway
                            >> Merchant Support
                            >> ellen@actumprocessing.com
                            >>
                            >>
                            >> On 6/19/2018 1:30 PM, Aubree wrote:
                            >>
                            >> Hi Aida,
                            >>
                            >> Ellen is out of the office today but will be reaching out to you tomorrow morning when she
                            returns.
                            >>
                            >> Best,
                            >>
                            >> Aubree
                            >>
                            >>
                            >>
                            >> On 6/19/2018 11:39 AM, Aida wrote:
                            >>
                            >> Hi Ellen,
                            >>
                            >>
                            >>
                            >> Can we please follow up with this.
                            >>
                            >>
                            >>
                            >> Thanks.
                            >>
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                            >> Aida Lau
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                            >> Accounting Manager
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                            >> From: Ellen Connaway <ellen@actumprocessing.com>
                            >> Sent: Monday, June 18, 2018 3:36 PM
                            >> To: Aida <aida@parfunding.com>; 'Aubree' <aubree@actumprocessing.com>; 'Brad Ericson'
                            <brad@actumprocessing.com>
                            >> Subject: Re: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> Hi Aida,
                            >>
                            >> Sorry for the delay in responding as I'm trying to get more clarification on this. I'll let you know.
                            >>
                            >> Thank you!
                            >>
                            >> Ellen Connaway
                            >> Merchant Support
                            >> ellen@actumprocessing.com
                            >>
                            >>
                            >> On 6/18/2018 12:38 PM, Aida wrote:
                            >>
                            >> Is our deposit going to be refunded?
                            >>
                            >>
                            >>
                            >> Aida Lau
                            >>
                            >>
                            >>
                            >> From: Ellen Connaway <ellen@actumprocessing.com>
                            >> Sent: Monday, June 18, 2018 1:30 PM
                            >> To: Aida <aida@parfunding.com>; 'Aubree' <aubree@actumprocessing.com>; 'Brad Ericson'
                            <brad@actumprocessing.com>
                            >> Subject: Re: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> Hi Aida,
                            >>
                            >> We'll be changing the status of these from returned to approved. I'll let you know when the
                            reporting updates and I've also removed the block on the account.
                            >>
                            >> Thanks!
                            >>
                            >> Ellen Connaway
                            >> Merchant Support
                            >> ellen@actumprocessing.com
                            >>
                            >>
                            >> On 6/18/2018 11:02 AM, Aida wrote:
                            >>
                            >> Ok got it, thanks.
                            >>
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                            >> Aida Lau
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                            >> Accounting Manager
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                            >> From: Ellen Connaway <ellen@actumprocessing.com>
                            >> Sent: Monday, June 18, 2018 12:01 PM
                            >> To: Aida <aida@parfunding.com>; 'Aubree' <aubree@actumprocessing.com>; 'Brad Ericson'
                            <brad@actumprocessing.com>
                            >> Subject: Re: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> Hi Aida,
                            >>
                            >> I'm escalating this one and I will let you know what I find out ASAP.
                            >>
                            >> Thanks,
                            >>
                            >> Ellen Connaway
                            >> Merchant Support
                            >> ellen@actumprocessing.com
                            >>
                            >>
                            >> On 6/18/2018 10:35 AM, Aida wrote:
                            >>
                            >> Yes.
                            >>
                            >>
                            >>
                            >>
                            >>
                            >> Aida Lau
                            >>
                            >> Accounting Manager
                            >>
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                            >> From: Ellen Connaway <ellen@actumprocessing.com>
                            >> Sent: Monday, June 18, 2018 11:34 AM
                            >> To: Aida <aida@parfunding.com>; Aubree <aubree@actumprocessing.com>; 'Brad Ericson'
                            <brad@actumprocessing.com>
                            >> Subject: Re: Return Discrepancies - 06/12/18
                            >>
                            >>
                            >>
                            >> Hi Aida,
                            >>
                            >> Are you seeing these returns in the Returns By Batch Report?
                            >>
                            >> Thanks!
                            >>
                            >> Ellen Connaway
                            >> Merchant Support
                            >> ellen@actumprocessing.com
                            >>
                            >>
                            >> On 6/18/2018 8:51 AM, Aida wrote:
                            >>
                            >> Good morning,
                            >>
                            >>
                            >>
                            >> I have the following returns from 06/12/18, which they were not scheduled on 06/12/18, see
                            attached.
                            >>
                            >>
                            >>
                            >> 6/12/2018
                            >>
                            >>
                            >> Jason Walsh
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                                                                                      07/27/2020     Page 22 of 71
                             >>
                             >>
                             >> ABC Capital Investment
                             >>
                             >>
                             >> $5,303.03
                             >>
                             >>
                             >> R29 - Corporate Customer Advises Not Authorized
                             >>
                             >> 6/12/2018
                             >>
                             >>
                             >> Jason Walsh
                             >>
                             >>
                             >> ABC Capital Investment
                             >>
                             >>
                             >> $7,000.00
                             >>
                             >>
                             >> R29 - Corporate Customer Advises Not Authorized
                             >>
                             >>
                             >>
                             >> Please confirm.
                             >>
                             >>
                             >>
                             >> Thank you.
                             >>
                             >>
                             >>
                             >>
                             >>
                             >> Aida Lau
                             >>
                             >> Accounting Manager


   Email from Joe giving permission to release information to James Klenk.
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/21/2018
                 Due Date 6/21/2018
   Last Modified Date/Time 6/21/2018 1:38 PM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments Yes, please go ahead.



                             He’s out company financial controller and should be an authorized member from our company.



                             Thanks Aubree.




                             Joe Cole

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                     22/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 23 of 71

                              From: Aubree <aubree@actumprocessing.com>
                              Sent: Wednesday, June 20, 2018 4:28 PM
                              To: Joe Cole <joecole@parfunding.com>; aida@parfunding.com
                              Subject: Par Funding



                              Good afternoon,

                              I received an email today from James Klenk requesting accounting activity for December of 2015,
                              2016, and 2017.

                              Would you please confirm that we have permission to send James this information?

                              Thank you!


   Unscrubbed acct # assoc with 18200178, Aida sent new auth signed by cust 6/15/18.
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/15/2018
                 Due Date 6/15/2018
   Last Modified Date/Time 6/15/2018 10:30 AM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments

   Aida asked to unscrub acct # associated with 18200178, adv to get brand new auth from cust because of 10 R29 in
   the past 2 days. Did not unscrub.
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    6/15/2018
                 Due Date     6/15/2018
   Last Modified Date/Time    6/15/2018 10:02 AM
               Assigned To    Ellen Connaway
     Last Modified By Alias   Ellen
                Comments


   Limits increased--they are moving volume over to us.
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 5/9/2018
                 Due Date 5/9/2018
   Last Modified Date/Time 5/9/2018 11:24 AM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments

   reviewed statements from Joe w/Brad; replied to Aubree on limit increase request
                     Name

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                           23/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 24 of 71
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    5/8/2018
                 Due Date     5/8/2018
   Last Modified Date/Time    5/8/2018 12:48 PM
               Assigned To    Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Aubree.

                         Thanks for getting these! Looks great and do let Joe know how much we appreciate his
                         transparency. His increase is approved by Brad and I. Please determine exactly what $ and # Limits
                         he wants setup now for the revised Exhibit B (and if it's less than the total volume he has mentioned
                Comments
                         he processes I hope you and/or Vinny will talk with Joe about how we can capture it all).

                              Cheers,

                              Lisa

   reply to Aubree on Joe's limit increase rqst
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    5/8/2018
                 Due Date     5/8/2018
   Last Modified Date/Time    5/8/2018 9:01 AM
               Assigned To    Lisa Janacek
     Last Modified By Alias   Lisa
                              Hi, Aubree.

                              This is great news and, indeed Joe has been a great Actum client! Because this is such a large
                              increase request, and we have not updated CBSG's file in quite a while, please request 2 most recent
                              months processing statements reflecting the volume he would like to move over to Actum, as well as
                              2 most recent bank statements. This is also a good time to check that the company info we have on-
                              file is current.
                Comments
                              Upon receipt we'll be able to review & knock out the limit increase request. Please give my best to
                              Joe.

                              Thanks!

                              Lisa


   Received T&C 3.2.
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    4/24/2018
                 Due Date     4/24/2018
   Last Modified Date/Time    4/24/2018 11:22 AM
               Assigned To    Jared Apilado
     Last Modified By Alias Jared
                Comments

   Same-Day Debits added.
                     Name

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                               24/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                                      07/27/2020     Page 25 of 71
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/15/2018
                 Due Date 3/15/2018
   Last Modified Date/Time 3/15/2018 3:43 PM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments

   Per Item increased.
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 2/8/2018
                 Due Date     2/8/2018
   Last Modified Date/Time    2/8/2018 1:09 PM
               Assigned To    Jared Apilado
     Last Modified By Alias   Jared
                Comments


   Limits increased.
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    12/29/2017
                 Due Date     12/29/2017
   Last Modified Date/Time    12/29/2017 11:28 AM
               Assigned To    Jared Apilado
     Last Modified By Alias Jared
                Comments

   FUP with Joe on new account from Bill
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 11/20/2017
                 Due Date 12/14/2017
   Last Modified Date/Time 12/22/2017 2:31 PM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments

   EM chain with Joe
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 12/14/2017
                 Due Date 12/14/2017

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                            25/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 26 of 71
   Last Modified Date/Time 12/14/2017 4:52 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                            Awesome, I really appreciate it.

                              We really benefit from these changes, I’ll forward over the form to sign now.

                              I got the application back from Bill but need to add a couple missing items with the ACH amounts.

                              I’m hoping to get both things back to you tomorrow.

                              I wish you guys a prosperous 2018 as well. Thanks.


                              Joe Cole

                              From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                              Sent: Thursday, December 14, 2017 4:37 PM
                              To: joecole@parfunding.com
                              Cc: Vinny Lipari <vinny@actumprocessing.com>
                              Subject: Re: Updated CBSG Exhibit B
                Comments
                              Hi Joe,

                              Thanks for the nudge with Bill. :-)

                              See attached and let me know if the transaction limits make sense from a # and $ standpoint. We got
                              you the increases to $350K daily and $8M month, but want to ensure the # of daily and # monthly
                              cover you.

                              We also got you down to a 3 business day hold and confirmed that the account does NOT have a
                              rolling reserve on it.

                              Cheers to another successful year in 2018!

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

   EM BRM & MS Revised Final Ex B
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    12/12/2017
                 Due Date     12/12/2017
   Last Modified Date/Time    12/12/2017 8:39 AM
               Assigned To    Nate Peña
     Last Modified By Alias   Nate
                              Hi Aubree & Ellen,

                         Please see revised Final Exhibit B attached and confirm when updates have been made :) This
                Comments merchant was set up before I worked here, so I don't have their original file - otherwise I would make
                         a revised RS for y'all.

                              Thank you!

   EM from Joe - updated Exhibit B and feedback on tech
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                             26/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 27 of 71
               Create Date    12/11/2017
                 Due Date     12/11/2017
   Last Modified Date/Time    12/11/2017 4:34 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                              Hi Joe,

                              Thanks for sending over the Exhibit and feedback! I will forward the Exhibit over and confirm with
                              you when the changes have been made.

                              I’ll keep an eye out for Bill’s email and will follow up towards the end of the week if I don’t receive
                              anything.

                              Hope you had a great weekend!

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

                              Office: 602.912.5707 / Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com

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                              the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
                              review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                              contact the sender by reply email and destroy all copies of the original message.

                              On Dec 11, 2017, at 11:16 AM, joecole@parfunding.com wrote:

                              Good afternoon Vinny,

                              Please see the attached countersigned document signed by Lisa.

                              Let me know when it will go into affect.

                Comments Bill updated me and said he will get the documents for CS 2000 submitted today. I’ll send over the
                         ACH statements for them as well.

                              We also have the following recommendations on the reporting system you have in place:

                              Submitted Transactions Report total should be the same as the Originations Report, meaning all the
                              stopped pay from the current date report should be taken out from the Submitted Transactions
                              Reports.
                              NSF returns should be remain active until merchant manually revokes it.

                              You mentioned you guys were working on developing the system in house and we’d like to
                              incorporate this feedback if possible

                              Let me know if you have any questions, thanks.


                              Joe Cole
                              CFO

                              <image009.png>
                              141 N 2nd St
                              Philadelphia, PA 19106

                              <image010.png>
                              Office: (215) 613-4126
                              <image010.png>
                              Cell: (949) 232-2463
                              <image011.png>
                              joecole@parfunding.com
                              <image012.png>

                              <4917_001.pdf>

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                   27/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 28 of 71
   EM from Joe - get docs to other email and SF lead - Capital Source 2000
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 11/21/2017
                 Due Date 11/21/2017
   Last Modified Date/Time    11/21/2017 11:46 AM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Bam! Good stuff all around. I’ll keep an eye out for your follow up.

                              Attached is the most recent version of our agreement and W-9. Get me back all of the standard
                              supporting documents and include a copy of your Client Agreement and BSA/AML policy. I’ll get the
                              account expedited for you. Appreciate the business a great deal!

                              You want me to match whatever your current pricing is with Actum?

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

                              Office: 602.912.5707 / Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com

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                              review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                              contact the sender by reply email and destroy all copies of the original message.


                              On Nov 20, 2017, at 4:13 PM, joecole@parfunding.com wrote:

                              Actum Processing W-9 logo.pdf
                              Hi Vinny,

                              Just a couple updates:

                              I’m waiting on the executed copy of the revised agreement and should have to you in the morning
                              I have another MCA company we started 18 months ago we’d like to set up ACH processing for.
                              They’re called Capital Source 2000 and have BSA / AML compliance documentation in place.
                              Currently processing about $18K per day through a local bank.
                              Greg got me sorted out with the debit card increase, Qualpay doubled our processing volume to
                              $300K monthly. He really goes above and beyond with this stuff, great guy.

                              Just let me know how we should get the ball rolling for the new company.

                              Thanks.


                              Joe Cole

                              From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                              Sent: Wednesday, November 15, 2017 5:29 PM
                              To: Joe Cole <joecole@parfunding.com>
                              Cc: Vinny Lipari <vinny@actumprocessing.com>
                              Subject: Follow up to call
                              Importance: High

                              Hi Joe,

                              It was great to connect today.

                              Before I go back to UW and request some of the changes we discussed, can you please review the
                              attached Exhibit B. This is the most recent version we have for you guys. We don’t have you on a

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                            28/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                                      07/27/2020     Page 29 of 71
                              rolling reserve, but have a fixed reserve in place for around $12K. So we shouldn’t have to change
                              anything on the reserve.

                              I am going to shoot for a 2 business day hold. UW will likely come back with a 3 or 4, but I want to
                              shoot for the best and see what they come back with. I can also have you added to invoice billing
                              starting in December.

                              Please review the current limits and tell me any of the areas you would like to see increased. I will go
                              back to UW tomorrow and see what they come back with. Call or email me with any questions.

                              Have a great night!

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

                              Office: 602.912.5707 / Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com

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                              the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
                              review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                              contact the sender by reply email and destroy all copies of the original message.

   EM from Joe with another account - update on current as well (Sent out fresh APP)
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    11/20/2017
                 Due Date     11/20/2017
   Last Modified Date/Time    11/20/2017 6:24 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Bam! Good stuff all around. I’ll keep an eye out for your follow up.

                              Attached is the most recent version of our agreement and W-9. Get me back all of the standard
                              supporting documents and include a copy of your Client Agreement and BSA/AML policy. I’ll get the
                              account expedited for you. Appreciate the business a great deal!

                              You want me to match whatever your current pricing is with Actum?

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

                              Office: 602.912.5707 / Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com

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                              the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
                              review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                              contact the sender by reply email and destroy all copies of the original message.

                              On Nov 20, 2017, at 4:13 PM, joecole@parfunding.com wrote:


                              Hi Vinny,

                              Just a couple updates:

                              I’m waiting on the executed copy of the revised agreement and should have to you in the morning
                              I have another MCA company we started 18 months ago we’d like to set up ACH processing for.
                              They’re called Capital Source 2000 and have BSA / AML compliance documentation in place.
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                29/71
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     Case                       Complete Business
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 30 of 71
                              Currently processing about $18K per day through a local bank.
                              Greg got me sorted out with the debit card increase, Qualpay doubled our processing volume to
                              $300K monthly. He really goes above and beyond with this stuff, great guy.

                              Just let me know how we should get the ball rolling for the new company.

                              Thanks.


                              Joe Cole

                              From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                              Sent: Wednesday, November 15, 2017 5:29 PM
                              To: Joe Cole <joecole@parfunding.com>
                              Cc: Vinny Lipari <vinny@actumprocessing.com>
                              Subject: Follow up to call
                              Importance: High

                              Hi Joe,

                              It was great to connect today.

                              Before I go back to UW and request some of the changes we discussed, can you please review the
                              attached Exhibit B. This is the most recent version we have for you guys. We don’t have you on a
                              rolling reserve, but have a fixed reserve in place for around $12K. So we shouldn’t have to change
                              anything on the reserve.

                              I am going to shoot for a 2 business day hold. UW will likely come back with a 3 or 4, but I want to
                              shoot for the best and see what they come back with. I can also have you added to invoice billing
                              starting in December.

                              Please review the current limits and tell me any of the areas you would like to see increased. I will go
                              back to UW tomorrow and see what they come back with. Call or email me with any questions.

                              Have a great night!

                              Best,
                              Vinny Lipari, MBA
                              President
                              Actum Processing

                              Office: 602.912.5707 / Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com

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   Call
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    11/15/2017
                 Due Date     11/15/2017
   Last Modified Date/Time    11/15/2017 11:49 AM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments still doing most volume with Intercept - about 700K per day.

                              He wants to beef up volume with us, but asked that we work on reduction in payout schedule, no
                              rolling reserve (possible no reserve at all) and place them on monthly invoice,

                              We got to talking about BSA/AML. I explained this is a new requirement for us dealing with all
                              lenders. His agreed that this is something important and they have been talking internally about
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                30/71
8/15/2019
     Case                       Complete Business
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                                                  EnteredGroup
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 31 of 71
                              putting one together. Although they follow much of what would be included in the policy, they do not
                              have one. This is something they plan to do my 1st quarter next year.

                              He did say the argument is that they are not considered a lender. They purchase future receivables
                              and perform factoring. They are not delivering a loan, but more of an advance on their receivables.
                              So this does not categorize them as a lender.

                              See what we can do on his payout schedule and reserve, then he will get us even more volume

   Late File Fee set to $0 but kept Late File on (see notes)
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/6/2017
                 Due Date 6/6/2017
   Last Modified Date/Time    6/6/2017 4:31 PM
               Assigned To    Jared Apilado
     Last Modified By Alias   Jared
                Comments      Hi Aubree,

                              I had an exchange with Joe and reiterated what Ellen explained about changing payments (see
                              below).

                              Can you please remove the late file fee on his account(s), but keep the services activated for them?
                              He will sign an updated Exhibit B if needed.

                              Let me know if you need anything from me.

                              Thank you!
                              Vinny

                              Actum Processing
                              www.actumprocessing.com
                              Vinny Lipari, MBA
                              President
                              Office: 602.912.5707
                              Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com




                              > Begin forwarded message:
                              >
                              > From: "Joe Cole" <joecole@parfunding.com>
                              > To: "'vincent lipari'" <vinny.lipari@actumprocessing.com>
                              > Subject: RE: Late File
                              > Date: June 4, 2017 at 3:56:31 PM MST
                              >
                              > Congratulations Vinny, that’s wonderful news. I’m sure you’ll have your hands full with the new
                              addition to your family.
                              >
                              > I’ll convey to my team that we can add transactions until 9p but will not be able to transactions
                              already scheduled after 5p. This should be okay since we can just play it conservatively with any
                              clients having nsf issues to ensure we have the lowest amount of returned payments as possible.
                              >
                              > Thanks for sorting out the late fees as well. We continue to prosper in deal flow and look to
                              increase volume again soon. Especially with the new Fast Advance account we set up.
                              >
                              > Thanks for confirming and I hope you enjoy the time spent with your new son.
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                               31/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 32 of 71
                            >
                            >
                            > Joe Cole
                            >
                            > From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                            > Sent: Friday, June 2, 2017 1:23 PM
                            > To: Joe Cole <joecole@parfunding.com>
                            > Cc: Vinny Lipari <vinny@actumprocessing.com>
                            > Subject: Re: Late File
                            > Importance: High
                            >
                            > Hi Joe,
                            >
                            > I am still not technically back to the office, but peeled away this morning for a little catch up. My
                            son was born on 5/27, so it’s been diapers and naps the past week. :-)
                            >
                            > I spoke with my team and I guess this is the actual case. It has to do with how recurring is coded in
                            our system. Your cutoff is 9pm for submitting new transactions, but anything that is already
                            scheduled for recurring will get pushed out in the earlier cutoff time. It’s a code deal that is way over
                            my head, but apparently a very large rewrite if we wanted to change it.
                            >
                            > If you were sending daily files and managing the recurring on your end, then the 9pm cutoff would
                            work for you. In this case, our system is managing the recurring which places this limitation on how
                            late you can revoke or edit transactions.
                            >
                            > I’ll have our crew remove the late file fees on all of your accounts, but we will keep the late cutoff
                            and Sundays active should you want to put initial deals in up until 9pm and have the origination take
                            place the next available business day.
                            >
                            > I’ll have to own this one my friend. Hope it doesn’t cause you any heartache.
                            >
                            > Have a great weekend!
                            >
                            > Best,
                            > Vinny
                            >
                            > Actum Processing
                            > www.actumprocessing.com
                            > Vinny Lipari, MBA
                            > President
                            > Office: 602.912.5707
                            > Mobile: 480.677.0555
                            > Email: vinny@actumprocessing.com
                            >
                            >
                            >
                            >
                            >
                            >
                            >
                            >
                            >
                            >> On May 31, 2017, at 12:03 PM, Joe Cole <joecole@parfunding.com> wrote:
                            >>
                            >> Hi Vinny,
                            >>
                            >> When you get a chance, can you please confirm the information we received from Ellen earlier.
                            >>
                            >> She’s saying the cutoff is still 4p to make changes on payments we want to remove from
                            tomorrow’s batch?
                            >>
                            >> I thought we’re good to make changes until 9p.
                            >>
                            >> Please see below.
                            >>
                            >>
                            >> Joe Cole

   EM with Joe about cutoff deal
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                              32/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 33 of 71
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 6/2/2017
                 Due Date     6/2/2017
   Last Modified Date/Time    6/2/2017 12:23 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Hi Joe,

                              I am still not technically back to the office, but peeled away this morning for a little catch up. My son
                              was born on 5/27, so it’s been diapers and naps the past week. :-)

                              I spoke with my team and I guess this is the actual case. It has to do with how recurring is coded in
                              our system. Your cutoff is 9pm for submitting new transactions, but anything that is already
                              scheduled for recurring will get pushed out in the earlier cutoff time. It’s a code deal that is way over
                              my head, but apparently a very large rewrite if we wanted to change it.

                              If you were sending daily files and managing the recurring on your end, then the 9pm cutoff would
                              work for you. In this case, our system is managing the recurring which places this limitation on how
                              late you can revoke or edit transactions.

                              I had my crew remove the late file fees on all of your accounts, but we will keep the late cutoff and
                              Sundays active should you want to put initial deals in up until 9pm and have the origination take
                              place the next available business day.

                              I’ll have to own this one my friend. Hope it doesn’t cause you any heartache.

                              Have a great weekend!

                              Best,
                              Vinny

                              Actum Processing
                              www.actumprocessing.com
                              Vinny Lipari, MBA
                              President
                              Office: 602.912.5707
                              Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com




                              On May 31, 2017, at 12:03 PM, Joe Cole <joecole@parfunding.com> wrote:

                              Hi Vinny,

                              When you get a chance, can you please confirm the information we received from Ellen earlier.

                              She’s saying the cutoff is still 4p to make changes on payments we want to remove from tomorrow’s
                              batch?

                              I thought we’re good to make changes until 9p.

                              Please see below.


                              Joe Cole



https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                 33/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 34 of 71
                            From: Ellen Connaway [mailto:ellen@actumprocessing.com]
                            Sent: Wednesday, May 31, 2017 2:30 PM
                            To: Aida <aida@parfunding.com>; 'Aubree' <aubree@actumprocessing.com>
                            Cc: 'Joe Mack' <joemack888@aol.com>
                            Subject: Re: FW: Late File

                            Hi Aida,

                            Yes, 9pm is the cut-off time to submit transactions. ACH is done is batches which means that
                            transactions entered before 4pm CT will be sent to the bank with the afternoon batch. Transactions
                            entered after 4pm CT will be sent with the late night batch.

                            All recurring transactions must be revoked before 4pm CT because the recur engine runs at 3am to
                            create a debit entry to go out with the afternoon batch. Any transaction entered after 4pm CT can be
                            revoked up until 9pm CT.

                            Let us know if you have any questions.

                            Thanks!

                            Ellen Connaway
                            Merchant Support
                            ellen@actumprocessing.com

                            On 5/31/2017 1:18 PM, Aida wrote:
                            Hi Ellen/Aubree,

                            We have signed up for late filing on CBSG/FAF.

                            Please see below for the email confirmation from Aubree.

                            I believe 9pm is the cut off time for our transactions.

                            Thanks.


                            Aida Lau
                            Accounting
                            <image001.jpg>
                            141 N 2nd St
                            Philadelphia, PA 19106
                            Office: 215.922.2636 x444
                            Office: 215.268.3594
                            Fax: 888.803.4886



                            From: Joe Cole [mailto:joecole@parfunding.com]
                            Sent: Monday, May 1, 2017 2:24 PM
                            To: 'Aubree' <aubree@actumprocessing.com>; 'vincent lipari' <vinny.lipari@actumprocessing.com>
                            Cc: 'Lisa Janacek' <lisa@actumprocessing.com>; 'Ellen Connaway' <ellen@actumprocessing.com>;
                            'Aida' <aida@parfunding.com>
                            Subject: RE: Late File

                            Ok, thanks Aubree.

                            We’ll process accordingly going forward.


                            Joe Cole

                            From: Aubree [mailto:aubree@actumprocessing.com]
                            Sent: Monday, May 1, 2017 2:22 PM
                            To: Joe Cole <joecole@parfunding.com>; 'vincent lipari' <vinny.lipari@actumprocessing.com>
                            Cc: 'Lisa Janacek' <lisa@actumprocessing.com>; 'Ellen Connaway' <ellen@actumprocessing.com>
                            Subject: Re: Late File

                            Hello Joe,
                            Thank you! We have updated these accounts for you.
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                            34/71
8/15/2019
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                                                                                      07/27/2020     Page 35 of 71
                              Best,

                              Aubree

                              On 4/28/2017 4:59 PM, Joe Cole wrote:
                              Hi Aubree,

                              Please see attached. We only need it for FAF / CBSG.

                              Let me know if you need anything else, thanks.


                              Joe Cole

                              From: Aubree [mailto:aubree@actumprocessing.com]
                              Sent: Friday, April 28, 2017 2:11 PM
                              To: vincent lipari <vinny.lipari@actumprocessing.com>; Joe Cole <joecole@parfunding.com>
                              Cc: Lisa Janacek <lisa@actumprocessing.com>; Ellen Connaway <ellen@actumprocessing.com>
                              Subject: Late File

                              Hello Joe,
                              Please see the attached revised Exhibit B's outlining the addition of Late File / Sunday processing
                              for: Broadway Advance LLC, Fast Advance Funding, and Complete Business Solutions. Once you
                              have reviewed, please return to me with authorized signatures and we will have our systems
                              updated.
                              Should you have any questions, please do not hesitate to ask.
                              Thank you,
                              Aubree

   Credits/Same Day Credits added--Funding Instructions sent
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 5/9/2017
                 Due Date 5/9/2017
   Last Modified Date/Time 5/9/2017 10:21 AM
              Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments

   EM about credits - sent to Aubree / Lisa
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 5/8/2017
                 Due Date     5/8/2017
   Last Modified Date/Time    5/8/2017 12:50 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Hi Aubree,

                              Hope you had a great weekend.

                              Joe would like to add ACH Credits and Same Day ACH Credits to his accounts. Can you please work
                              with him on getting this set up? He is aware of the Ledger Reserve and we have agreed to the
                              following pricing.
                              ACH Credit $0.65
                              Same Day Credit $0.65
                              He has some limits in mind, but I’ll let you all hash that out. Circle back if you need anything from

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                               35/71
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                              me.

                              Thank you!
                              Vinny

   Another email - price pitched
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 5/5/2017
                 Due Date 5/5/2017
   Last Modified Date/Time    5/5/2017 6:25 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Can you swing $0.85 per? Probably saves you a ton and makes me a little.. :-) You can also leverage
                              us for Same Day ACH Credits at the same price point.

                              If you start to get into paying out syndicates daily or the volume starts to really grow, we can revisit
                              the cost and get the price dropped. You know how we work in that regard.

                              Also - All credits have to be pre-funded as well. We set you up with someone that manages this and
                              your pre-funds go into a ledger based virtual account. You can only send out up to whatever you
                              have in the ledger.

                              Let me know if you wan to jump on a call to discuss. If not, I can get this added to your account(s)
                              Monday.

                              Have a great weekend as well!

                              Vinny

                              Actum Processing
                              www.actumprocessing.com
                              Vinny Lipari, MBA
                              President
                              Office: 602.912.5707
                              Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com




                              On May 5, 2017, at 3:30 PM, Joe Cole <joecole@parfunding.com> wrote:

                              Thanks Vinny,

                              We’re looking to do about 50 ACH Credits per month to start and it would be mainly used for
                              syndications and paying ISOs.

                              I’d estimate about $300,000.00 in monthly volume with $30,000.00 as the largest single transaction
                              amount. Though this may increase in volume sooner than later.

                              Let me know if you need anything else.

                              I appreciate the quick response, have a great weekend!


                              Joe Cole

                              From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                36/71
8/15/2019
     Case                       Complete Business
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                                                                                      07/27/2020     Page 37 of 71
                              Sent: Friday, May 5, 2017 6:10 PM
                              To: Joe Cole <joecole@parfunding.com>
                              Subject: Re: Late File

                              I’ll take care of you. Answer these for me and I’ll fire back some pricing:

                              Number of monthly ACH Credits (#)
                              Dollar amount of monthly ACH Credits ($)
                              High dollar amount of a single ACH Credit ($)

                              Are you using credits to pay agents / iso’s, syndicates, fund loans, etc?

                              Thanks!
                              Vinny

   EM with Joe about credits - see below
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    5/5/2017
                 Due Date     5/5/2017
   Last Modified Date/Time    5/5/2017 5:10 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      I’ll take care of you. Answer these for me and I’ll fire back some pricing:

                              Number of monthly ACH Credits (#)
                              Dollar amount of monthly ACH Credits ($)
                              High dollar amount of a single ACH Credit ($)

                              Are you using credits to pay agents / iso’s, syndicates, fund loans, etc?

                              Thanks!
                              Vinny
                              Actum Processing
                              www.actumprocessing.com
                              Vinny Lipari, MBA
                              President
                              Office: 602.912.5707
                              Mobile: 480.677.0555
                              Email: vinny@actumprocessing.com




                              On May 5, 2017, at 9:30 AM, Joe Cole <joecole@parfunding.com> wrote:

                              Hi Vinny,

                              Can you give me a ballpark on what it would cost to get ACH credits set up with you guys? We’re
                              getting killed with some of our bank fees for transfers.

                              I believe it was part of the last pricing sheet you gave me but can’t locate it.

                              Please confirm when you get a chance pal, thank you.


                              Joe Cole

                              From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                           37/71
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     Case                       Complete Business
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                                                                                      07/27/2020     Page 38 of 71
                              Sent: Thursday, April 27, 2017 7:30 PM
                              To: Joe Cole <joecole@parfunding.com>
                              Cc: Aubree <aubree@actumprocessing.com>; Lisa Janacek <lisa@actumprocessing.com>; Ellen
                              Connaway <ellen@actumprocessing.com>
                              Subject: Re: Late File
                              Importance: High

   Added Late/Sunday File
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 5/1/2017
                 Due Date     5/1/2017
   Last Modified Date/Time    5/1/2017 1:44 PM
               Assigned To    Jared Apilado
     Last Modified By Alias   Jared
                Comments


   EM from Aida - Vinny & Ellen did walk through
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    4/27/2017
                 Due Date     4/27/2017
   Last Modified Date/Time    4/27/2017 12:28 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias VinnyL
                            Good afternoon Vinny,

                              This is Aida from Par Funding/Fast Advance Funding.

                              I would like to know if we can set up a training session mainly on setting up ACH payments and daily
                              reporting.

                              I’m currently experiencing trouble pulling initial payments as I was instructed to and I’m very
                              confused with the reporting that we have at the end of the day.

                              We already have issues with the weekly clients on Fast Advance Funding and the ACH payments did
                              not get processed at all.

                              I would like to have the training to address the issues as soon as possible if you can.
                Comments
                              Please let me know when is the best time for you.

                              Thank you.


                              Aida Lau
                              Accounting
                              logo
                              141 N 2nd St
                              Philadelphia, PA 19106
                              Office: 215.922.2636 x444
                              Office: 215.268.3594
                              Fax: 888.803.4886


   Schedule E Reveived
                     Name
                     Status Completed
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     Case                       Complete Business
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                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    2/8/2017
                 Due Date     2/8/2017
   Last Modified Date/Time    2/8/2017 2:00 PM
               Assigned To    Jared Apilado
     Last Modified By Alias Jared
                Comments

   FUP on Joe Cole's new account for Fast Advance Capital
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 1/19/2017
                 Due Date     2/7/2017
   Last Modified Date/Time    2/9/2017 6:02 PM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments


   requested Sched E to add Aida to account
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    2/6/2017
                 Due Date     2/6/2017
   Last Modified Date/Time    2/6/2017 8:17 AM
               Assigned To    Lisa Janacek
     Last Modified By Alias   Lisa
                              Good morning, Aida and Joe.

                              We do not currently have Aida on-file as an authorized contact for Par Funding and need to update
                              our records accordingly. Please complete the attached Schedule E, have Lisa M. sign, and return to
                              Aubree w/Actum.
                Comments
                              Also, we would ask that when you are submitting a request for assistance from the Actum team,
                              kindly indicate the Parent ID relative to the request (AXXXXXXXX, etc.).

                              Thank you and have a great day,

                              Lisa

   EM from Joe - he has another account
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 1/19/2017
                 Due Date 1/19/2017
   Last Modified Date/Time    1/19/2017 11:18 AM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments      Good morning Vinny,


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                                                                                      07/27/2020     Page 40 of 71
                              I wanted to follow up to see if we can open another account with you guys to process ACH payments
                              through another company we own, called Fast Advance Funding. This is the same business as Par
                              Funding which currently processes about $8,000.00 in volume per day.

                              Let me know if this is something we can get started today. Thanks.


                              Joe Cole
                              logo
                              141 N 2nd St
                              Philadelphia, PA 19106
                              Office 1: 215.613.4126
                              Office 2: 215.922.2636 x106
                              Cell: 949.232.2463

   advise Joe, payout coming via SDC
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/18/2017
                 Due Date 1/18/2017
   Last Modified Date/Time 1/18/2017 10:07 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Joe.

                              Wanted to give you a heads-up that there was an issue with payout generator last night. Charles is
                              working on a Same Day ACH Credit to you now to get the funds delivered to you this afternoon.
                Comments
                              Please let us know if you have any questions.

                              Best,

                              Lisa


   payout trace reports to joe
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date    12/1/2016
                 Due Date     12/1/2016
   Last Modified Date/Time    12/1/2016 8:54 AM
               Assigned To    Lisa Janacek
     Last Modified By Alias   Lisa
                              Good morning, Joe.

                              I've attached 2 additional Trace Reports for your reference - 11/29/2016 and 11/18/2016 (the previous
                              Friday).

                         Even though banks are closed on Sundays, the Federal Reserve system starts up Sunday night. Your
                         bank should be able to get this same report plus their local report to show when they received the
                Comments request from the Federal Reserve to credit your account and when the bank actually transferred the
                         funds to your account. Perhaps that will provide insight on the delay directly following the holiday.

                              Let me know if there is anything else I can do to assist.

                              Very best,

                              Lisa


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   EM chan with Joe and Lisa about payouts - my reply to Joe to take his temp on moving volume away.
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 11/28/2016
                 Due Date 11/28/2016
   Last Modified Date/Time 11/28/2016 4:02 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                            Hi Joe,

                              Thanks for keeping me looped in. I double checked on this one with Lisa and all payouts went out as
                              scheduled. Not sure why deposits from other providers show up before Actum’s, but you have me
                              curious. Do you need me to have my crew produce a trace number that you can bring to your bank to
                              confirm the credit was received?

                         It’s odd that this is happening. You did say it happens whenever there is a bank holiday, correct? Let
                Comments me know if you need me to get you the trace number.

                              Also, I certainly don’t want to see you move your volume elsewhere after a how long we’ve been
                              working together. Please confirm you feel the same and lets jump on a call if needed.

                              Hope you had a wonderful Thanksgiving Holiday!

                              Best,
                              Vinny

   bank account issues/returns resolved
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 8/15/2016
                 Due Date 8/15/2016
   Last Modified Date/Time 8/15/2016 1:00 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Joe - will act as a reference for me - Greenbox
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date    8/15/2016
                 Due Date     8/15/2016
   Last Modified Date/Time    8/15/2016 11:48 AM
               Assigned To    Vinny Lipari
     Last Modified By Alias   VinnyL
                Comments


   FUP with Joe and see if volume is pumping
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
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               Create Date 7/21/2016
                 Due Date 8/11/2016
   Last Modified Date/Time 8/11/2016 5:28 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments

   payout & fee returned-see notes for handling
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 8/11/2016
                 Due Date     8/11/2016
   Last Modified Date/Time    8/11/2016 1:15 PM
               Assigned To    Lisa Janacek
     Last Modified By Alias   Lisa
                              Joe,

                              We've just received the following Returns:

                              -$35.00 debit (Account Maintenance Fee for changing the bank account on-file)
                              +$19,558.52 (payout sent out Monday 8/8)

                              We anticipate that the payout sent out Tuesday will also be Returned, $21,794.03.

                         The Return Reason is "Invalid Account". Three of our team members have verified the account
                         number and routing number entered in the system match the voided check & Exhibit A-1 you
                Comments
                         provided for account *****4126.

                              We are resubmitting the Returned debit and credit to your Bancorp account *****6442. When the
                              payout sent out on Tuesday is Returned, we will also resend it out to ****6442. Today's payout is
                              going to *****6442.

                              So that we can get the new account number w/Republic Bank setup correctly for your funding going
                              forward, please request a bank letter that specifically outlines ACH instructions for credits and
                              debits.

                              Thank you, Joe! If you have any questions or additional concerns, please give me a call.

   new voided ck rcvd, sent A-1 to Joe so we can update payout info
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 8/1/2016
                 Due Date 8/1/2016
   Last Modified Date/Time 8/1/2016 10:48 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   EM confirming good to go with Joe
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/25/2016

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                 Due Date 7/25/2016
   Last Modified Date/Time 7/25/2016 10:48 AM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Hi Joe,

                            I received confirmation that you are good to go as of Friday.

                            Let me know when things get rolling.

                            Have a good start to your week!

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            On Jul 23, 2016, at 7:10 AM, Joe Cole <joecole@parfunding.com> wrote:

                            Ok, thanks.


                            Joe Cole

                            From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Friday, July 22, 2016 6:28 PM
                            To: joecole@parfunding.com
                            Subject: Re: Signed Pricing Agreement

                            Hi Joe,

                            Sorry for the delay. I’ve been running around most of the day. Our Austin office is closed, but I’m
                            pretty certain the change was made earlier today.

                            I’ll shoot you an email confirming all is good.

                            Have a nice weekend!

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            On Jul 22, 2016, at 2:33 PM, Joe Cole <joecole@parfunding.com> wrote:

                            Hi Vinny,

                            We you guys all good on your end with the changes to our account?

                            I wasn’t sure if we could start increasing our volume yet or if were waiting on final approval.

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                             43/71
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 44 of 71
                             Please confirm, thanks.


                             Joe Cole

                             From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                             Sent: Thursday, July 21, 2016 2:30 PM
                             To: joecole@parfunding.com
                             Subject: Re: Signed Pricing Agreement

                             Got it! Thank you!


                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Office: 602.912.5707 / Mobile: 480.677.0555
                             Email: vinny.lipari@actumprocessing.com
                             Website: www.actumprocessing.com

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                             contact the sender by reply email and destroy all copies of the original message

                             On Jul 21, 2016, at 11:15 AM, Joe Cole <joecole@parfunding.com> wrote:

                             Vinny,

                             Please see the signed doc attached.


                             Joe Cole
                             <image003.jpg>
                             141 N 2nd St
                             Philadelphia, PA 19106
                             Office 1: 215.613.4126
                             Office 2: 215.922.2636 x106
                             Cell: 949.232.2463

                             <Actum Revised Pricing 072116.pdf>

   have Ellen ck Limits & update tiered pricing per revised Exh B (note that volume will be ramping up)
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/22/2016
                 Due Date 7/22/2016
   Last Modified Date/Time 7/22/2016 10:13 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   have Charles change to Fixed Reserve (sweep $12,708 to hold)
                    Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/22/2016

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                                                                                      07/27/2020     Page 45 of 71
                 Due Date 7/22/2016
   Last Modified Date/Time 7/22/2016 10:12 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Charles.

                             We are changing AXXXXXXXX to a Fixed Reserve and it's been agreed that $12,708 will be moved over.
                             Would you please do that and confirm?
                Comments
                             Thank you!

                             Lisa


   FUP on updated Exhibit and Submit Routing Sheet with changes
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/21/2016
                 Due Date 7/21/2016
   Last Modified Date/Time 7/21/2016 6:27 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments

   EM sent to Lisa and Austin crew - updated routing sheet and signed exhibit
                    Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/21/2016
                 Due Date 7/21/2016
   Last Modified Date/Time 7/21/2016 6:26 PM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Hi Lisa,

                             The executed Exhibit B was attached to the previous email. My primary question was whether or not
                             you needed me to complete the updated Combined Routing Sheet. I went ahead and knocked that
                             deal out for you! :-) Thanks for sending over the original.

                             Attached is the Updated Routing Sheet and executed Exhibit B.

                             Please confirm when all is completed and I will notify Joe / Par Funding.

                             Have a wonderful night!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Office: 602.912.5707 / Mobile: 480.677.0555
                             Email: vinny.lipari@actumprocessing.com
                             Website: www.actumprocessing.com

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                                                                                      07/27/2020     Page 46 of 71



                            On Jul 21, 2016, at 1:07 PM, Lisa Janacek <lisa@actumprocessing.com> wrote:

                            Hi, Vinny. Thanks for thinking of this ;)

                            I have attached the Word version of the mostly recently signed Exhibit B (revision date 3/17/15), as
                            well as the original/only Routing Sheet we have on-file.

                            To confirm, we have not yet changed this account over to Fixed Reserve; will do that upon receipt of
                            signed revised Exh. B you're working on now.

                            Cheers!

                            Lisa

                            On Thu, Jul 21, 2016 at 1:36 PM, vincent lipari <vinny.lipari@actumprocessing.com> wrote:
                            Hi Lisa,

                            Attached is the executed Exhibit B for the above merchant. This one was boarded so long ago that
                            it’s possible changes have been made to their account that could be different on the Routing Sheet I
                            have on file. I do not want to cause any confusion like I did with Last Chance. :-)

                            Can you please do one of the following:
                            1 - Create the updated Routing Sheet on your end to reflect the changes on the Exhibit
                            2 - Send me the most recent Routing Sheet you have and I will copy that information on the
                            Combined Routing Sheet and add the new information from the Exhibit.
                            Either is fine by me. Let me know your preference.

                            Thank you!

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            contact the sender by reply email and destroy all copies of the original message


                            On Jul 19, 2016, at 11:37 AM, Lisa Janacek <lisa@actumprocessing.com> wrote:

                            Hi, Vinny.

                            I'm happy to report that we are good to go with the account revisions you've proposed for
                            AXXXXXXXX. Please reassert to Joe that his transactions submitted to Actum must hit only corporate
                            accounts. We'll continue to monitor, of course, but appreciate you mentioning it.

                            We'll look for the signed revised Exhibit B to update accordingly and if there is anything else we can
                            assist with, please let me know.

                            Best!

                            Lisa

                            On Mon, Jul 18, 2016 at 11:55 PM, vincent lipari <vinny.lipari@actumprocessing.com> wrote:
                            Hi Lisa,

                            I received supporting information from the Joe Cole regarding Complete Business Solutions (dba,
                            Par Funding). They are processing upwards of $4.5 million a month with their other provider. They
                            like our system functionality better and I feel confident we could obtain the majority of their volume.

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                                                                                      07/27/2020     Page 47 of 71
                            I would like their account to be reviewed in consideration of making changes to their pricing, limits
                            and reserve requirements.

                            Attached are the following:
                            2 Years Financials
                            6 months ACH processing statement (returns & statement of fees included)
                            Less than 4% overall
                            Less than .10% CB
                            Updated Exhibit B - suggested changes below
                            1% rolling reserve over 30 days (review again when volume reaches $2,000,000 (m) and potentially
                            remove reserve)
                            Merchant has no reserve requirement with current ACH provider
                            Tiered heavily reduced
                            Return fee reduced
                            CB fee reduces
                            Limit Increases
                            Daily Dollar - $275,000
                            Daily Number - 350
                            Monthly Dollar - $4,000,000
                            Monthly Number - 20,000
                            Please review with the team and let me know your thoughts. If approved, I will communicate with Joe
                            and see if we can get his volume moved over to Actum.

                            Depending upon how the call goes, I may come up on the pricing side. Any changes that are made to
                            his Exhibit B will be noted and submitted to UW along with an updated Routing Sheet.

                            Let me know if you have any questions or would like to chat more about this over the phone.

                            Thank you!

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            --
                            Actum Processing

                            www.actumprocessing.com

                            Facebook Twitter Linkedin Instagram


                            Lisa Janacek,
                            Business Relationship Manager

                            P: 512-402-0082 ext.1134
                            C: 512-913-8229
                            F: 512-597-0258
                            E: lisa@actumprocessing.com
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                             7004 Bee Cave Road, Bldg. 3, Suite 312
                             Austin, TX 78746




                             --
                             Actum Processing

                             www.actumprocessing.com

                             Facebook Twitter Linkedin Instagram


                             Lisa Janacek,
                             Business Relationship Manager

                             P: 512-402-0082 ext.1134
                             C: 512-913-8229
                             F: 512-597-0258
                             E: lisa@actumprocessing.com

                             7004 Bee Cave Road, Bldg. 3, Suite 312
                             Austin, TX 78746

                             <CBSG Inc dba Par Funding_A20150035 - Actum Final Exhibit B.docx><CBSG dba Par
                             FundingActum Processing Merchant Routing Sheet.pdf>

   EM sent to Joe with proposal and docs
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/19/2016
                 Due Date 7/19/2016
   Last Modified Date/Time 7/19/2016 8:48 PM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Hi Joe,

                             I hope this message finds you well. Thank you for sending over all of the supporting documentation.
                             It made our decisions much easier to make.

                             I was able to get you approved at the following:
                             Significantly Reduced Tiered Pricing
                             Significantly Reduced Return Fee
                             Reduced Chargeback Fee
                             No Additional Reserve Hold
                             Increased Limits ($275K daily / $4MM)
                             The other vendors pricing is honestly tough to beat unless we are seeing 5,000 transactions per
                             month coming our way. If that is the case then you will see $1,800 - $2,200 in annual savings.

                             We currently have $12,708.00 in reserve. If you decide to move forward as outlined, then we will
                             remove the rolling reserve and move the $12K into a hard reserve account. You will receive all future
                             payouts without any reserve adjustments.

                             Basically my friend… I got you everything on your wish list and more.

                             Attached is the updated Final Exhibit B that will require Lisa’s signature. I included a spreadsheet
                             that shows Actum’s true cost of processing based on the number of transactions you send and how
                             your return rates looks. You can change all the numbers in Green and it will adjust your true cost
                             with Actum.

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                                                                                      07/27/2020     Page 49 of 71
                            Side note; If you know of any other B2B Lenders that you think would be a good fit for Actum, please
                            send them my way.

                            I appreciate your business and look forward to growing our partnership.

                            Have a great evening!

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            On Jul 19, 2016, at 10:02 AM, Joe Cole <joecole@parfunding.com> wrote:

                            CBSG Inc dba Par Funding_A20150035 - Final Exhibit B_7.19.16.pdf

                            Thanks for the follow up Vinny

                            I think these fees would work well us, though I don’t know if we would immediately move the
                            majority of our volume over. We were thinking about moving over $50,000.00 a day to start and ramp
                            up another $50,000.00 after 30 days assuming payment processing went well.

                            If everything goes well it’s foreseeable that we could move the majority over. So we’d star by doing
                            $1M in volume the first month and $2M in the second.

                            This is under the assumption that we’d be able to do a fixed reserve amount and we’d receive the
                            entirety of our ACH batches less the returns.

                            Please let me know how we should move forward.


                            Joe Cole

                            From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Tuesday, July 19, 2016 1:22 AM
                            To: joecole@parfunding.com
                            Cc: Vinny Lipari <vinny@actumprocessing.com>
                            Subject: Re: Docs Requested
                            Importance: High

                            If I come back with what’s listed below would you be willing to move the majority of your volume
                            over to Actum?
                            Annual cost savings of $3,000 - $4,000
                            1% rolling reserve over 30 days or perhaps eliminate the reserve completely
                            Approved daily limit of $275K and monthly limit of $4M
                            Let me know your thoughts.

                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                                                                                      07/27/2020     Page 50 of 71
                            On Jul 18, 2016, at 1:37 PM, Joe Cole <joecole@parfunding.com> wrote:

                            Please see the attached fee sheet and billing statement for June.

                            We were debited about $2,300.00 for all our activity last month.

                            Let me know if you need anything else, thanks.


                            Joe Cole

                            From: Vinny Lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Saturday, July 16, 2016 11:11 AM
                            To: joecole@parfunding.com
                            Subject: Re: Docs Requested

                            No worries. For now just tell me what you pay for the following fees with the other vendor. I'll come
                            up with something for you early next week.

                            Per transaction
                            Per return
                            Per R08
                            Per chargeback.

                            Have a great weekend!

                            Thank you!

                            Sent from my iPhone

                            On Jul 16, 2016, at 7:59 AM, Joe Cole <joecole@parfunding.com> wrote:

                            Sorry, yesterday got tied up in meetings. They don’t really provide a fee schedule statement for us,
                            maybe I can run a payment summary from quickbooks? It’s like $2,000.00 - $2,500.00 usually.

                            I may have a fee schedule from the original application but it may have changed with our increased
                            volume.

                            Let me know if that works. Thanks.


                            Joe Cole

                            From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Friday, July 15, 2016 7:39 PM
                            To: joecole@parfunding.com
                            Subject: Re: Docs Requested

                            Any luck on the statement of fees?


                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            On Jul 14, 2016, at 1:17 PM, Joe Cole <joecole@parfunding.com> wrote:

                            Vinny,

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                                                                                      07/27/2020     Page 51 of 71
                             Please see the attached financials and ACH processing statements from January through June this
                             year.

                             I have to make the correction, while we’re on the phone I saw we’re using ACH Works instead of
                             Intercept. While we do have an account with ACH Works through our subsidiary Fast Advance
                             Funding, the $4M in monthly volume is actually being run through a company called Intercept EFT.

                             Sorry for the confusion. I can provide the ACH Works statements as well but they are for a separate
                             legal entity we manage and for a lower dollar amount volume than stated.

                             Let me know if you need anything else.

                             Thanks.


                             Joe Cole

                             From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                             Sent: Tuesday, July 12, 2016 3:49 PM
                             To: Joe Cole <joecole@parfunding.com>
                             Subject: Docs Requested

                             Hi Joe,

                             Good to reconnect today. I think it’s awesome that you guys are growing and would like to work
                             towards becoming your primary ACH partner.

                             Please send me two months most recent ACH processing statements from ACH Works. Also, please
                             send 2015 Financials and Interim 2016.

                             Once received, I will get them over to Risk for review and come back with a tightened proposal,
                             reserve adjustment, and volume increases.

                             Sound good?

                             Side note: Ellen will reach out to you about the Automated Return Processing via SFTP.

                             Thank you!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Office: 602.912.5707 / Mobile: 480.677.0555
                             Email: vinny.lipari@actumprocessing.com
                             Website: www.actumprocessing.com

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                             <CBSG Intercept ACH Batch Summary 0616.pdf><CBSG Intercept ACH Returns Summary 0616.pdf>
                             <CBSG Profit Loss 2015.pdf><CBSG Balance Sheet 0630.pdf><CBSG Profit Loss 0630.pdf>

                             <CBSG Intercept Fees.pdf><CBSG Intercept Billing Detail 0616.pdf>

   reply to Vinny on account revision request
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/19/2016
                 Due Date 7/19/2016
   Last Modified Date/Time 7/19/2016 1:37 PM

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                                                                                      07/27/2020     Page 52 of 71
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Vinny.

                             I'm happy to report that we are good to go with the account revisions you've proposed for
                             AXXXXXXXX. Please reassert to Joe that his transactions submitted to Actum must hit only corporate
                             accounts. We'll continue to monitor, of course, but appreciate you mentioning it.

                             We'll look for the signed revised Exhibit B to update accordingly and if there is anything else we can
                             assist with, please let me know.

                             Best!
                             Lisa
                             ******************
                             Hi Lisa,

                             I received supporting information from the Joe Cole regarding Complete Business Solutions (dba,
                             Par Funding). They are processing upwards of $4.5 million a month with their other provider. They
                             like our system functionality better and I feel confident we could obtain the majority of their volume.

                             I would like their account to be reviewed in consideration of making changes to their pricing, limits
                             and reserve requirements.

                         Attached are the following:
                         2 Years Financials
                Comments 6 months ACH processing statement (returns & statement of fees included)
                         Less than 4% overall
                         Less than .10% CB
                         Updated Exhibit B - suggested changes below
                         1% rolling reserve over 30 days (review again when volume reaches $2,000,000 (m) and potentially
                         remove reserve)
                         Merchant has no reserve requirement with current ACH provider
                         Tiered heavily reduced
                         Return fee reduced
                         CB fee reduces
                         Limit Increases
                         Daily Dollar - $275,000
                         Daily Number - 350
                         Monthly Dollar - $4,000,000
                         Monthly Number - 20,000
                         Please review with the team and let me know your thoughts. If approved, I will communicate with Joe
                         and see if we can get his volume moved over to Actum.

                             Depending upon how the call goes, I may come up on the pricing side. Any changes that are made to
                             his Exhibit B will be noted and submitted to UW along with an updated Routing Sheet.

                             Let me know if you have any questions or would like to chat more about this over the phone.

                             Thank you!


   Em chain about current fees
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/18/2016
                 Due Date 7/18/2016
   Last Modified Date/Time 7/18/2016 10:06 AM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Ok, I’ll call our rep on Monday and let you know. I couldn’t find it from our online client portal.

                             Thanks.



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                                                                                      07/27/2020     Page 53 of 71
                            Joe Cole

                            From: Vinny Lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Saturday, July 16, 2016 11:11 AM
                            To: joecole@parfunding.com
                            Subject: Re: Docs Requested

                            No worries. For now just tell me what you pay for the following fees with the other vendor. I'll come
                            up with something for you early next week.

                            Per transaction
                            Per return
                            Per R08
                            Per chargeback.

                            Have a great weekend!

                            Thank you!

                            Sent from my iPhone

                            On Jul 16, 2016, at 7:59 AM, Joe Cole <joecole@parfunding.com> wrote:

                            Sorry, yesterday got tied up in meetings. They don’t really provide a fee schedule statement for us,
                            maybe I can run a payment summary from quickbooks? It’s like $2,000.00 - $2,500.00 usually.

                            I may have a fee schedule from the original application but it may have changed with our increased
                            volume.

                            Let me know if that works. Thanks.


                            Joe Cole

                            From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                            Sent: Friday, July 15, 2016 7:39 PM
                            To: joecole@parfunding.com
                            Subject: Re: Docs Requested

                            Any luck on the statement of fees?


                            Best,
                            Vinny Lipari, MBA
                            President
                            Actum Processing

                            Office: 602.912.5707 / Mobile: 480.677.0555
                            Email: vinny.lipari@actumprocessing.com
                            Website: www.actumprocessing.com

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                            On Jul 14, 2016, at 1:17 PM, Joe Cole <joecole@parfunding.com> wrote:

                            Vinny,

                            Please see the attached financials and ACH processing statements from January through June this
                            year.

                            I have to make the correction, while we’re on the phone I saw we’re using ACH Works instead of
                            Intercept. While we do have an account with ACH Works through our subsidiary Fast Advance
                            Funding, the $4M in monthly volume is actually being run through a company called Intercept EFT.

                            Sorry for the confusion. I can provide the ACH Works statements as well but they are for a separate
                            legal entity we manage and for a lower dollar amount volume than stated.

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                                                                                      07/27/2020     Page 54 of 71
                             Let me know if you need anything else.

                             Thanks.


                             Joe Cole

                             From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                             Sent: Tuesday, July 12, 2016 3:49 PM
                             To: Joe Cole <joecole@parfunding.com>
                             Subject: Docs Requested

                             Hi Joe,

                             Good to reconnect today. I think it’s awesome that you guys are growing and would like to work
                             towards becoming your primary ACH partner.

                             Please send me two months most recent ACH processing statements from ACH Works. Also, please
                             send 2015 Financials and Interim 2016.

                             Once received, I will get them over to Risk for review and come back with a tightened proposal,
                             reserve adjustment, and volume increases.

                             Sound good?

                             Side note: Ellen will reach out to you about the Automated Return Processing via SFTP.

                             Thank you!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Office: 602.912.5707 / Mobile: 480.677.0555
                             Email: vinny.lipari@actumprocessing.com
                             Website: www.actumprocessing.com

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                             review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please
                             contact the sender by reply email and destroy all copies of the original message

                             <CBSG Intercept ACH Batch Summary 0616.pdf><CBSG Intercept ACH Returns Summary 0616.pdf>
                             <CBSG Profit Loss 2015.pdf><CBSG Balance Sheet 0630.pdf><CBSG Profit Loss 0630.pdf>

   FTP set up, sent creds, will get trans/return file
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/13/2016
                 Due Date 7/13/2016
   Last Modified Date/Time 7/13/2016 11:36 AM
              Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments

   response from Joe
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/12/2016
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          54/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 55 of 71
                 Due Date 7/12/2016
   Last Modified Date/Time 7/12/2016 6:37 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                             Thanks Vinny,

                             I’ll work on getting these items over to you shortly.

                             I just sent Ellen my IP address to get set up on the FTP program.

                             Follow up with you soon.


                             Joe Cole

                             From: vincent lipari [mailto:vinny.lipari@actumprocessing.com]
                             Sent: Tuesday, July 12, 2016 3:49 PM
                             To: Joe Cole <joecole@parfunding.com>
                             Subject: Docs Requested

                             Hi Joe,

                             Good to reconnect today. I think it’s awesome that you guys are growing and would like to work
                             towards becoming your primary ACH partner.

                             Please send me two months most recent ACH processing statements from ACH Works. Also, please
                             send 2015 Financials and Interim 2016.
                Comments
                             Once received, I will get them over to Risk for review and come back with a tightened proposal,
                             reserve adjustment, and volume increases.

                             Sound good?

                             Side note: Ellen will reach out to you about the Automated Return Processing via SFTP.

                             Thank you!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

                             Office: 602.912.5707 / Mobile: 480.677.0555
                             Email: vinny.lipari@actumprocessing.com
                             Website: www.actumprocessing.com

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                             contact the sender by reply email and destroy all copies of the original message

   Emailed Joe about FTP setup
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/12/2016
                 Due Date 7/12/2016
   Last Modified Date/Time 7/12/2016 3:07 PM
              Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments

   EM sent to Joe
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          55/71
8/15/2019
     Case                       Complete Business
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                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/12/2016
                 Due Date 7/12/2016
   Last Modified Date/Time 7/12/2016 2:49 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                             Hi Joe,

                             Good to reconnect today. I think it’s awesome that you guys are growing and would like to work
                             towards becoming your primary ACH partner.

                             Please send me two months most recent ACH processing statements from ACH Works. Also, please
                             send 2015 Financials and Interim 2016.

                             Once received, I will get them over to Risk for review and come back with a tightened proposal,
                             reserve adjustment, and volume increases.
                Comments
                             Sound good?

                             Side note: Ellen will reach out to you about the Automated Return Processing via SFTP.

                             Thank you!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

   Call with Joe
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/12/2016
                 Due Date 7/12/2016
   Last Modified Date/Time 7/12/2016 2:46 PM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                            He has over $4M a month with ACH works. Cost is much lower, they have no reserve with them and
                            their system works better.

                         is willing to increase volume to $1M a month if we can accommodate some of their needs. He is also
                Comments paying $15 per R08. Keep that in mind when coming up with fees.

                             Follow up with Lisa and Ellen on auto returns via SFTP.

                             Get 2 months ACH statements and 2 years financials before getting them set up at higher limits.

   EM sent to Joe
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 7/11/2016
                 Due Date 7/11/2016
   Last Modified Date/Time 7/11/2016 6:02 PM
               Assigned To Vinny Lipari
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          56/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 57 of 71
     Last Modified By Alias VinnyL
                            Hey Joe,

                             Hope the summer is treating you well.

                             Thought I’d touch base and revisit our previous discussions about ACH Credits and ramping up the
                             ACH Debit volume. The new bank is rolling strong and our portfolio of B2B lenders is continuing to
                             grow. I appreciate your business a great deal and would like to see if there are any ways for us to
                             expand our relationship.
                Comments
                             I’m around this week if you want to catch up.

                             Hope to talk soon!

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

   Vinny, ok to have Ellen remove Credit Limits? (emld 7/6)
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/6/2016
                 Due Date 7/7/2016
   Last Modified Date/Time 7/7/2016 9:45 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   cred limits removed-adjust exh b w/next revision
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/7/2016
                 Due Date 7/6/2016
   Last Modified Date/Time 7/7/2016 9:45 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Req COA's for 2 customers - confirmed they are billing biz accounts.
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/30/2016
                 Due Date 6/30/2016
   Last Modified Date/Time 7/5/2016 10:07 AM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                            Gerald Perkins - 16871865
                            Thomas Suess - 16888627
                Comments
                             Can't see in logs if they are billing biz accounts


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   turn Monthly Fee back ON so it'll bill July
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/21/2016
                 Due Date 6/14/2016
   Last Modified Date/Time 3/21/2016 2:32 PM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments PER CHARLES 3/21 WILL RESUME AUTOMATCALLY

   call no message left for Joe
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 5/11/2016
                 Due Date 5/11/2016
   Last Modified Date/Time 5/11/2016 4:57 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments

   Call with Joe about credits and missed file
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/24/2016
                 Due Date 3/24/2016
   Last Modified Date/Time 3/24/2016 11:17 AM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                            He wasn't as understanding this time. I gave him background on Bank of KU and BB&T. them not
                Comments being equipped to handle TPS. He understood. Said to follow up in May after we've transitioned to
                            the new bank and see about adding credit again at $4.50 per

   (merch waiting on Credits [fi file issues made him rethink])Fixed Reserve to be wired to Actum; Vinny sent revised
   Exh B for merch sign/return
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/16/2016
                 Due Date 3/23/2016
   Last Modified Date/Time 3/23/2016 3:50 PM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   turn OFF Monthly Fee for April, May 7 June
                     Name
                     Status Completed
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8/15/2019
     Case                       Complete Business
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                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/21/2016
                 Due Date 3/21/2016
   Last Modified Date/Time 3/21/2016 1:41 PM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Removed $25 monthly fee per LJ
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/21/2016
                 Due Date 3/21/2016
   Last Modified Date/Time 3/21/2016 12:47 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments

   EM back from Joe about us missing files.
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/21/2016
                 Due Date 3/21/2016
   Last Modified Date/Time 3/21/2016 12:18 PM
               Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                            Vinnie,

                             I just had a long discussion with Lisa, unfortunately we have to put the ACH credit project on hold
                             until we get the issue with your bank resolved. We really can’t afford inconsistencies with our
                             payment schedules and having the batch rejected twice in the past two weeks is a major issue.

                         Please understand that we have a reputation to maintain with our clients and in collecting daily
                         payments per our agreements with them. We had to send out another set of apology emails this
                Comments morning and run make up payments for Monday which is a big inconvenience for their cash flow.
                         The relationship we maintain with them is extremely important since that’s a major selling point in
                         retaining our business.

                             Hopefully you guys have your bank issues ironed out and we can go over potentially doing other
                             lines of business after we have more consistency down the road.


                             Joe Cole

   LM and EM sent to Joe
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/17/2016
                 Due Date 3/17/2016
   Last Modified Date/Time 3/17/2016 5:09 PM
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8/15/2019
     Case                       Complete Business
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                                                                                      07/27/2020     Page 60 of 71
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                             Hi Joe,

                             I just tried to call you..

                             We are in the process of moving away from one of our banks. The same bank that missed the file a
                             few weeks back. Unfortunately, they missed another file on March 10th. We were just informed by
                             them today. We will be placing those transactions into a declined status, just as we did when the last
                             bank error occurred. Let me know if this is good by you.

                         We apologize for the inconvenience. As a courtesy, we will be waiving your monthly fee for June -
                Comments August (3 months x $25 = $75). This will be on both Broadway Advance and Par Funding.

                             Side note: Any news on the credits? I have my team doing development to automate this for you. I
                             am also able to come down to $4.50 per ACH credit, if you think it will help get it done.

                             Thank you.

                             Best,
                             Vinny Lipari, MBA
                             President
                             Actum Processing

   Added credit capabilites
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/15/2016
                 Due Date 3/15/2016
   Last Modified Date/Time 3/15/2016 4:44 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments


   Vinny to discuss (negotiate pricing if it comes to that) Credits request w/Joe
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/9/2016
                 Due Date 3/9/2016
   Last Modified Date/Time 3/9/2016 1:21 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Joe requesting Credits - info to Pam, Dan, Vinny, Ellen for review
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/9/2016
                 Due Date 3/9/2016
   Last Modified Date/Time 3/9/2016 11:52 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa

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     Case                       Complete Business
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                                                                                      07/27/2020     Page 61 of 71
                Comments Hi, Pam.

                            Complete Business Solutions Group (AXXXXXXXX), one of Actum's highest volume accounts, is
                            requesting Credits. Info on this from Joe is outlined below.

                            Sidenote: CB Ratio reported 1/27/16 was 3.33%; this was due to 8 cb's by a single customer, which
                            we attempted to have dishonored for being late CCD returns. Dan knows about that; I just wanted to
                            point it out herein for reference. Other than those 8 cb's, the account has only had 2 others, both by
                            another single customer. Monthly volume on account:

                            Mar-15 $5,503.77 15
                            Apr-15 $49,282.96 115
                            May-15 $51,438.48 110
                            Jun-15 $74,350.06 154
                            Jul-15 $69,123.65 136
                            Aug-15 $43,213.56 106
                            Sep-15 $59,422.56 129
                            Oct-15 $58,393.56 129
                            Nov-15 $50,050.23 97
                            Dec-15 $83,467.14 137
                            Jan-16 $60,475.03 111
                            Feb-16 $64,216.18 131

                            I've attached the Exhibit B hereto. Current Reserve balance is $10K (rolling). Please let me know
                            what else you/the team need to evaluate this request. The account is currently boarded @ BB&T with
                            no indication it was presented to CkComm before....

                            Thanks much,

                            Lisa
                            *********************


                            ---------- Forwarded message ----------
                            From: Joe Cole <joecole@parfunding.com>
                            Date: Wed, Mar 9, 2016 at 10:43 AM
                            Subject: RE: ACH Credits
                            To: Lisa Janacek <lisa@actumprocessing.com>


                            Lisa,

                            This would be for CBSG. I have the following responses to the questions you listed:

                            - CBSG is providing participation with other MCA companies with its advances, making payments via
                            ACH credits

                            - These are commercial only transactions

                            - The maximum ACH would be $10,000.00

                            - The average ACH would be around $1,000.00

                            - At the beginning, we will process less than 5 credits daily

                            - This will be about 100 credits a month

                            - At the beginning, we’ll need about $5,000.00 daily and $200,000.00 monthly in ACH credits
                            processing

                            - The description can be the same as the ones for debits, showing that CBSG is the transferring
                            party for the transactions


                            We are not currently doing this with any other processors. We were looking as doing it via daily
                            wires but that will get expensive with the bank fees.

                            So let me know if that’s something Actum could add to our ACH services. Thanks.

                            Joe Cole
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   Joe Cole Contact
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/8/2016
                 Due Date 3/8/2016
   Last Modified Date/Time 3/21/2016 4:27 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                             Joe Cole
                             CFO

                         <image006.jpg>
                Comments 39 Broadway Ste 930
                         New York, NY 10006
                         Office 1: 215.613.4126
                         Office 2: 215.922.2636 x106
                         Cell: 949.232.2463


   Spoke with Joe about missed bank file - he said to delete or decline and he will manage it on their end. No double
   billing please
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/8/2016
                 Due Date 3/8/2016
   Last Modified Date/Time 3/8/2016 1:04 PM
              Assigned To Vinny Lipari
     Last Modified By Alias VinnyL
                Comments Joe Cole - good with deleting files and they will manage on back end

   Joe's reply re: unable to dishonor returns (all good)
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/26/2016
                 Due Date 1/26/2016
   Last Modified Date/Time 1/26/2016 2:47 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Ok, thanks for trying. They have been a very difficult client to deal with.

                             We are following up through our legal channels to recover the owed payments from this client.

                Comments Things are looking good to ramp up business in the coming weeks.

                             I appreciate the follow up and hope things are going well on your end as well.

                             Joe Cole

   advise Joe attempt to dishonor returns was unsuccessful
                     Name
                     Status Completed

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                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/26/2016
                 Due Date 1/26/2016
   Last Modified Date/Time 1/26/2016 11:25 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                            Hi, Joe. How i the week treating you?

                             I wanted to let you know the attempt to dishonor the JB Interiors returns (on Order 16736596) was
                             not successful. You'll likely want to take it up with the customer directly at this point.

                Comments It looks like volume is starting to ramp up again - I hope business is indeed going well and if there is
                         anything else I can work to assist you with, just give me a shout.

                             Very best,

                             Lisa

   Charles submitted CCD CBs as dishonored Returns to FI (Order 16736596)...status?
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/21/2016
                 Due Date 1/25/2016
   Last Modified Date/Time 1/25/2016 9:09 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Charles to have CCD CBs dishonored (Order 16736596)...status?
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/12/2016
                 Due Date 1/20/2016
   Last Modified Date/Time 1/21/2016 10:35 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   advise Joe recommend including all cust info w/orders (currently submitting cust nm only)
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/12/2016
                 Due Date 1/12/2016
   Last Modified Date/Time 1/12/2016 9:24 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments Good morning, Joe. Hope the week's treating you well.

                             While reviewing your transactions under AXXXXXXXX, I noticed that your team is still entering only

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                             63/71
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            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                                      07/27/2020     Page 64 of 71
                             Customer Name & Account ABA/#. Would you please look into why address, ph# and email are not
                             being entered as well?

                             While we have the account setup without all of these additional fields being required, it is highly
                             recommended that you do include all data that you have for the customer.

                             Thanks much!

                             Lisa

   Charles to have CCD CBs dishonored (Order 16736596)...status?
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 1/5/2016
                 Due Date 1/12/2016
   Last Modified Date/Time 1/12/2016 9:18 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                             1/12
                             Hi, Charles. Can I please get a status update on this?

                             Thank you,

                             Lisa
                             *****
                             Charles,

                Comments Joe of AXXXXXXXX is questioning 7 CB's that are CCD and well beyond the 2-business day return
                         period. Dan said to send this to you and you'd look into having the Returns dishonored. The Returns
                         are on Order 16736596.

                             Please let me know what additional info you may need and if you could keep me updated on this, I'd
                             appreciate it. I've never worked on this type of issue so wanting to learn what I can.

                             Thanks much,

                             Lisa

   email to Joe re: email issues & payout delay
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 7/21/2015
                 Due Date 7/21/2015
   Last Modified Date/Time 7/21/2015 3:11 PM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments Good afternoon, Joe.

                             I wanted to let you know that I'm having email issues so this (actum.lisa@gmail.com) is my alternate
                             address (rather than lisa@actumprocessing.com). If you have tried to message me lately, please
                             know that the issue was just recently discovered but could have started on Thursday.

                             Secondly, I'm told by our accounting department that payouts did not go out but all will be caught up
                             tomorrow. If I receive any information you may find helpful as to why that happened, I will definitely
                             pass along to you.

                             Very best,


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                             Lisa

   engage Merch Support re: PID vs SubID and managing future billings when NSF
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/30/2015
                 Due Date 6/30/2015
   Last Modified Date/Time 6/30/2015 8:52 AM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                             Byron / Ellen,

                             I'm looking at the PreAuths & Returns for both Broadway Advance (AXXXXXXXX) and Complete
                             Business Solutions Group (AXXXXXXXX) - which are both "Joe Cole" accounts, and thinking two
                             things:

                             1. Seems they are submitting Initials and Recurs under their Parent ID sometimes and their SubID
                             other times.
                Comments
                             2. When a debit is returned NSF, they don't seem to be managing this, as in adjusting the (daily)
                             billing cycle so the next day's debit won't also be returned NSF....

                             If you are not already working with these accounts on these issues, would you please reach out?

                             Thank you!

                             Lisa

   Signed Exhibit B Back from sales
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/17/2015
                 Due Date 3/24/2015
   Last Modified Date/Time 3/24/2015 1:58 PM
               Assigned To Jared Apilado
     Last Modified By Alias Jared
                Comments


   updated A-1 rcvd, wt updated, fee logges - print file save
                     Name
                    Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/20/2015
                 Due Date 3/23/2015
   Last Modified Date/Time 3/23/2015 8:25 AM
               Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   send brm intro
                     Name

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                            65/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
                                                  EnteredGroup
                                                            onInc.FLSD
                                                                   ~ Salesforce
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                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 3/17/2015
                 Due Date 3/19/2015
   Last Modified Date/Time 3/19/2015 3:18 PM
              Assigned To Lisa Janacek
     Last Modified By Alias Lisa
                Comments

   Get signed Ex b and send credentials to merchant
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/17/2015
                 Due Date 3/18/2015
   Last Modified Date/Time 3/17/2015 2:56 PM
               Assigned To Callie Stuart
     Last Modified By Alias Callie
                            Hi Lisa,

                             Congratulations, this account has been approved! I have attached the Final Exhibit B for your
                             execution. Please review, sign, and return as soon as you can and I will send over your log in
                             information so that you may begin processing. We look forward to working with you!

                         --
                         Kind regards,
                Comments
                         Callie Latuhoi

                             ACTUM PROCESSING
                             Office: (480)339-7142
                             Cell: (480)828-0331
                             Fax: (512)-597-0258
                             Email: Callie@ACTUMPROCESSING.com
                             Website: www.ACTUMPROCESSING.com

   Welcome Letter
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/17/2015
                 Due Date 3/17/2015
   Last Modified Date/Time 3/17/2015 2:56 PM
               Assigned To Callie Stuart
     Last Modified By Alias Callie
                Comments Hi Lisa,

                             Welcome to Actum Processing!

                             We are pleased to have you as our newest partner. Please take a minute to review this email and
                             reply confirming you have received the message. Below you will find your account details and
                             introduction to Byron, your Actum Processing Merchant Support Contact. Feel free to contact him
                             should you have any technical questions. He can help guide you through our system and explain the
                             features of our Virtual Terminal. We value your business and look forward to many years of ongoing
                             success together!

                             User Credentials:
                             Go to - https://reports.actumprocessing.com
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                         66/71
8/15/2019
     Case                       Complete Business
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                                                            onInc.FLSD
                                                                   ~ Salesforce
                                                                          Docket- Enterprise Edition
                                                                                      07/27/2020     Page 67 of 71
                             username: AXXXXXXXX
                             password: changeme

                             SubID:
                             CBSC001 -CCD

                             Test Account:
                             Name Bob Yakuza
                             Address 893 Ginza, Austin TX 00893
                             Phone 893-555-0893
                             SSN XXX-XX-XXXX
                             DOB 12/07/1941
                             ABA 999999999
                             Acct 257168279

                             Actum Processing Merchant Support Contact:
                             - Byron@actumprocessing.com

                             Please let me know if you have any questions.

                             --
                             Kind regards,
                             Callie Latuhoi

                             ACTUM PROCESSING
                             Office: (480)339-7142
                             Cell: (480)828-0331
                             Fax: (512)-597-0258
                             Email: Callie@ACTUMPROCESSING.com
                             Website: www.ACTUMPROCESSING.com

   FUP with joe
                     Name
                     Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/12/2015
                 Due Date 3/13/2015
   Last Modified Date/Time 3/12/2015 1:24 PM
              Assigned To Callie Stuart
     Last Modified By Alias Callie
                             Hi Joe,

                             I have just heard back from my underwriting department regarding this account. It looks like the
                             bank has requested some information.

                             Please provide the following:

                             Merchant Questionnaire (attached)
                             Copy of policies/procedures or list of prohibited business types you would not offer merchant cash
                             advances

                Comments This is all they've requested so once we have these items, things should move pretty quickly. Please
                         let me know if you have any questions.

                             Kind regards,
                             Callie Latuhoi

                             ACTUM PROCESSING
                             Office: (480)339-7142
                             Cell: (480)828-0331
                             Fax: (512)-597-0258
                             Email: Callie@ACTUMPROCESSING.com
                             Website: www.ACTUMPROCESSING.com



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     Case                       Complete Business
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   FUP with joe
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/4/2015
                 Due Date 3/6/2015
   Last Modified Date/Time 3/4/2015 1:36 PM
               Assigned To Callie Stuart
     Last Modified By Alias Callie
                             Hi Joe,

                             My name is Callie, I am Vinny's assistant. I have just finished reviewing your application and will
                             need a few things.

                             Please provide the following:

                             Pg. 1 and 2 of app - Initials at the bottom of each page
                             Sample authorization form
                             Business contract between Par Funding and the borrower

                             Once I receive these items, I will be able to submit this to my underwriting department. Please let me
                Comments
                             know if you have any questions.

                             --
                             Kind regards,
                             Callie Latuhoi

                             ACTUM PROCESSING
                             Office: (480)339-7142
                             Cell: (480)828-0331
                             Fax: (512)-597-0258
                             Email: Callie@ACTUMPROCESSING.com
                             Website: www.ACTUMPROCESSING.com

   Get Ex B from Vinny
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/4/2015
                  Due Date 3/5/2015
   Last Modified Date/Time 3/10/2015 10:29 AM
               Assigned To Callie Stuart
     Last Modified By Alias Callie
                Comments

   Sent app to UW
                     Name
                    Status Completed
                Related To Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                      Task
               Create Date 3/4/2015
                 Due Date 3/4/2015
   Last Modified Date/Time 3/4/2015 1:29 PM
               Assigned To Callie Stuart
     Last Modified By Alias Callie
                Comments Hi Monica,

https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                              68/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                                                                                      07/27/2020     Page 69 of 71
                             I have attached a new application for the above merchant.

                             Please note the following:

                             In house agent: Vinny
                             Merchant cash advance
                             Waiting on Exhibit B
                             Waiting on legible terms and conditions for business contract

                             Please let me know if anything else is needed.

                             --
                             Kind regards,
                             Callie Latuhoi

                             ACTUM PROCESSING
                             Office: (480)339-7142
                             Cell: (480)828-0331
                             Fax: (512)-597-0258
                             Email: Callie@ACTUMPROCESSING.com
                             Website: www.ACTUMPROCESSING.com

   Email - reducing NSF's / adv FTP setup
                     Name Joe Cole
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                      Task
               Create Date 6/30/2015
                 Due Date
   Last Modified Date/Time 6/30/2015 2:34 PM
              Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments Thanks for the insight Ellen, we will do as advised and take a more conservative approach in regards
                         to the payments we process for our clients.



                             One of the biggest obstacles we have is the lag between when we process payments to when we see
                             if it has been returned, especially with the recent issue with the returns report.



                             It is our standard practice to immediately hold payments for clients with returns and only resume
                             when we confirm with the client that funds are sufficient to continue processing their payments. We
                             aim to have the fewest amount of returns possible.



                             I will check with our systems administrator in regards to the FTP functionality.



                             We appreciate the attention to this issue and value our working relationship with your company.
                             Please let me know if you notice any other potential issues down the road.




                             Joe Cole



                             From: Ellen Connaway [mailto:ellen@actumprocessing.com]
                             Sent: Tuesday, June 30, 2015 3:04 PM
                             To: Joe Cole (AXXXXXXXX Broadway Advance)
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                          69/71
8/15/2019
     Case                       Complete Business
            9:20-cv-81205-RAR Document    30-7 Solutions
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                              Cc: Lisa; <byron@actumprocessing.com>
                              Subject: Actum Account Overview



                              Hi Joe,

                              We were taking a look at both of your accounts, Complete Business Solutions Group (AXXXXXXXX)
                              and Broadway Advance (AXXXXXXXX), and noticed that the returns due to Insufficient Funds is rather
                              high.

                              For the month, Complete Business Solutions Group has a total of 14 NSF transactions and
                              Broadway Advance has a total of 21 NSF transactions.

                              Accounts that utilize the "daily billing cycle" tend to run into this sort of problem, but we have a
                              recommendation that might help you lower these type of returns.

                              As soon as you notice your customer's payment has been returned due to Insufficient Funds,
                              contact your customer and ask when they will have the funds available in their account. Since our
                              system automatically puts the account in "Deleted" status when a return occurs, you'll need to
                              change the account status to "Active" and change the next billing date to the date of when your
                              customer will have the funds in their account. This will also help avoid potential administrative
                              returns and chargebacks.

                              Also, we do have another way for you to retrieve the transaction history details of your accounts.
                              This is done via FTP and we can set this up one of two ways.

                              1) We will put the file on our server and you can retrieve them at will, in which case we will need to
                              know what IP(s) you will be connecting from.

                              2) We can upload the files directly to your sever each day in which case we would need the
                              hostname, username, and password for the FTP location you would like us to upload to.

                              If you are interested in the FTP reports, let us know which of the above methods you prefer and we'll
                              get to work setting it up for you.

                              As always, please feel free to let us know if you have any questions.

                              Have a great afternoon!

                              Thank you,

   App fee $150.00, waiting on signed Ex. B
                     Name
                     Status Completed
                Related To Complete Business Solutions Group Inc.
                       Task
               Create Date 3/17/2015
                 Due Date
   Last Modified Date/Time 3/17/2015 3:44 PM
               Assigned To Ellen Connaway
     Last Modified By Alias Ellen
                Comments

  Opportunities
   Actum Processing Merchant-Complete Business Solutions Group Inc. dba Par Funding
                Stage Closed Won
              Amount
          Close Date 3/31/2015
       Probability (%) 100
       Lead Source Employee Referral
    Owner Full Name Lisa Janacek
                 Won
https://na47.salesforce.com/001G000001ml1tG/p?retURL=/001G000001ml1tG                                                                  70/71
8/15/2019
     Case                       Complete Business
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         Fiscal Period Q1-2015
            Next Step
                 Type
   Last Modified Date 1/25/2016
          Description

  Notes & Attachments
   Not using negative db                                                Same Day Debits added 03/15/18
          Type Note                                                           Type Note
        Owner Ellen Connaway                                                Owner Jared Apilado
   Description                                                          Description

    Related To Complete Business Solutions Group Inc.                   Related To Complete Business Solutions Group Inc.

   Late file fee waived as of 6/6/17                                    REQUESTS TRANSFER PAYOUT TO CREDIT RESERVE
         Type Note                                                           Type Note
        Owner Ellen Connaway                                                Owner Lisa Janacek
   Description                                                          Description

    Related To Complete Business Solutions Group Inc.                   Related To Complete Business Solutions Group Inc.

   Credits/Same Day Credits added 5/8/17--Ledger                        Late File/Sunday File added 05/01/17
         Type Note                                                           Type Note
        Owner Jared Apilado                                                 Owner Jared Apilado
   Description                                                          Description

    Related To Complete Business Solutions Group Inc.                   Related To Complete Business Solutions Group Inc.

   Fixed Reserve                                                        creds/test account
          Type Note                                                           Type Note
       Owner Jared Apilado                                                  Owner Lisa Janacek
   Description                                                                    Reseller:
                                                                                  None
    Related To Complete Business Solutions Group Inc.
                                                                                      SubID:
                                                                                      CBSC001 -CCD
   BOK Approval 3.17.15
                                                                                      Login:
          Type Note                                                                   username: AXXXXXXXX
       Owner Jared Apilado                                                            password: changeme
                                                                        Description
   Description
                                                                                      Test Account:
                                                                                      Name Bob Yakuza
    Related To Complete Business Solutions Group Inc.                                 Address 893 Ginza, Austin TX 00893
                                                                                      Phone 893-555-0893
                                                                                      SSN XXX-XX-XXXX
                                                                                      DOB 12/07/1941
                                                                                      ABA 999999999
                                                                                      Acct 257168279

                                                                        Related To Complete Business Solutions Group Inc.



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